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                             EXHIBIT A
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                                                       ID #:21


 1 John W.Dalton, Esq.(183685)
   LAW OFFICES OF JOHN W. DALTON                                                       Electronically FILED by
                                                                                       Superior Court of California,
2 990 Highland Drive, Suite 102                                                        County of Los Angeles
   Solana Beach, California 92075-2409                                                 6/09/2023 4:39 PM
3 (858)720-8422 Office                                                                 David W. Slayton,
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                                                                                       By Y. Tarasyuk, Deputy Clerk
4     Attorneys for Plaintiff, Catarina Cortez

5

6
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
7
                                     FOR THE COUNTY OF LOS ANGELES
8
9     CATARINA CORTEZ,                                     )     CASE NO. 23ST CV13324
                                                           )
10                                       Plaintiff,        )     COMPLAINT FOR DAMAGES
                                                           )
11                                                         )     1.      UNLAWFUL PREGNANCY
                                                           )             DISCRIMINATION
12    TARGET CORPORATION,A                                 )
      CALIFORNIA CORPORATION,                              )     2.       UNLAWFUL PREGNANCY
13    KAMBER TAYLOR,AN INDIVIDUAL                          )              HARASSMENT
      and DOES 1-50, inclusive.                            )
14                                                         )     3.       FAILURE TO REASONABLY
                                             Defendants.   )              ACCOMMODATE
15                                                         )              CONDITIONS RELATED TO
                                                                          PREGNANCY
16
                                                                 4.      FAILURE TO ENGAGE IN THE
17                                                                       INTERACTIVE PROCESS
                                                                         RELATED TO PREGNANCY
18
                                                                 5.       FAILURE TO PREVENT
19                                                                        PREGNANCY
                                                                          DISCRIMINATION AND
20                                                                        PREGNANCY HARASSMENT
21                                                               6.       RETALIATION FOR OPPOSING
                                                                          FORBIDDEN PRACTICES,ETC.
22
                                                                 7.       INJUNCTIVE RELIEF
23
                                                                         PUNITIVE DAMAGES
24
                                                                          Jury Trial Demanded
25

26

27

28

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1                                            FIRST CAUSE OF ACTION

2          PLAINTIFF AGAINST DEFENDANT COMPANY AND DOES .1 THROUGH 50,

3                                                 INCLUSIVE,

4                                       PREGNANCY DISCRIMINATION

5                          (VIOLATION OF CAL. GOV.CODE § 12900, et seq.)

6     1.        Plaintiff CATARINA CORT'EZ ("Plaintiff' or "Ms. Cortez") is informed and believes

7     and thereon alleges that defendant TARGET CORPORATION, A CALIFORNIA

8     CORPORATION ("Defendant Company" or "Target"), and DOES 1 through 30 are companies,

9     organized and/or authorized to do business in the State of California. Defendant Company has

10    not complied with California Corporations Code §2105 and has not designated a principal office
11    within the State of California, thereby causing Los Angeles County as the proper venue.

12    Defendant Company and DOES 1 through 30 each employ more than five employees and are

13    engaged in interstate commerce within the meaning of California Government Code section

14    1 2926.

15    2.        Plaintiff was at all relevant times complained of herein, an employee of and/or person

16    providing services pursuant to a contract with Defendant Company and/or DOES 1 through 30.
17    3.        Plaintiff is informed and believes and thereon alleges that at all relevant times, defendant

18    KAMBER TAYLOR("Individual Defendant" or "Ms. Taylor"), was a supervisor, manager,

19    officer and/or managing agent employed by Defendant Company and DOES 1 through 30.
20    4.        Plaintiff is informed and believes and thereon alleges that Defendant DOES 31 through
21    40,inclusive, are individuals who reside in the State of California, and at all relevant times

22    herein, were, and/or are, employed by Defendant Company.

23    5.        Plaintiff is informed and believes and thereon alleges that Defendant DOES 41 through

24    50,inclusive, are individuals and/or unknown business entities who reside in the State of

25    California, and at all relevant times herein are and have been supervisors/managers/agents of

26    Defendant Company and DOES 1 through 20.

27    6.        Plaintiffis ignorant ofthe true names and capacities of Defendants sued herein as

28

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 I    DOES 1 through 50, inclusive, and therefore sue these Defendants by such fictitious names and

2     capacities. Plaintiff is informed and believes and thereon alleges, that each fictitiously named

3     Defendant is responsible in some manner for the events herein alleged and that the injuries to
4     Plaintiff herein alleged were proximately caused by the conduct of such Defendants.
5     7.      Plaintiff is informed and believes and thereon alleges that at all relevant times herein
6     Defendant Company and DOES 1 through 50 was the agent, alter-ego,joint-employer, employee
7     of, and/or joint venturer with, and/or working in concert with, his/her/its co-defendants and was
8     acting within the course and scope ofsuch agency, employment and/or joint venture and/or
9     concerted activity. To the extent that said conduct was perpetrated by certain Defendants, the
10    remaining Defendants and DOES 1 through 50 confirmed, adopted, approved, and/or ratified the
11    same.
12    8.      Plaintiff is informed and believes and thereon alleges that at all relevant times herein
13    each Defendant and DOES 1 through 50 were completely dominated and controlled by his/her/its
14    co-defendants and each was the alter ego of the other.
15    9.      Whenever and wherever reference is made in this complaint to any conduct by Defendant
16    Company, or DOES,such allegations and references shall also be deemed to mean the conduct of
17    each of the Defendants, acting individually,jointly and severally.
18    10.      Whenever and wherever reference is made to individuals or DOES who are not named as

19    defendants in this Complaint, but were employees/agents of Defendant Company,such
20    individuals at all relevant times acted on behalf of Defendant Company or respective DOES
21    named in this paragraph within the scope oftheir respective employments.

22    11.      At all relevant times herein, Plaintiff CATARINA CORTEZ("Plaintiff") was employed
23    by and/or performed services pursuant to contract with Defendant Company in the State of
24    California.
25    12.     Defendant"(AMBER TAYLOR ("Individual Defendant" or "Ms. Taylor"), was a
26    supervisor, manager, officer and/or managing agent employed by Defendant Company,
27    discriminated against, and harassed Plaintiff, and denied, aided or incited a denial of, or

28    discriminated against or made a distinction that denied, full and equal advantages to Plaintiff

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 1   based on her pregnancy, discriminated against, refused to contract with, and harassed Plaintiff,

2     and denied, aided or incited a denial of, or discriminated against or made a distinction that

3     denied, full and equal advantages to Plaintiff based on her pregnancy.

4             Ms. Cortez began her employment with Target, on or about, February 10, 2022 as a

5     warehouse worker. There were no issues with Ms. Cortez's employment until she informed

6    Target she was pregnant, which occurred on, or about, June 9, 2022. Within a few days ofthis

7     notification, Ms. Cortez was given an undeserved write-up for "disrespectful behavior" and not

8    supporting teamwork. The discrimination continued in early July 2022,just after Ms. Cortez's

9     doctor provided information indicating Ms. Cortez had limitations related to her pregnancy (i.e.

10    maximum of 10 hour shifts; lifting or carrying up to 10 pounds; and pushing or pulling up to 35

11    pounds). A few days later, on July 9,2022, Ms. Cortez received a letter, addressed to her, but

12    containing the name "Dyandra," within the letter. This letter was from Stephanie McMillan, who

13    is a Senior Human Resource Partner for Target, and the letter indicated Target would only

14    accommodate Ms. Cortez's doctor ordered limitations for a period of 12 weeks, at which time,

15    Ms. Cortez would lose her job when she was just five months pregnant. Ms. Cortez could not

16    afford to lose her job at that point in her pregnancy. This terrified Ms. Cortez and she made

17    another appointment to see her doctor to see if her limitations could be removed. Given Ms.

18    Cortez's condition, and because it could possibly endanger her unborn baby, her doctor would

19    not remove the heavy lifting limitation, but increased it from 10 to 25 pounds. Her doctor did

20    remove the work length limitation so Ms. Cortez could work up to a 12 hour shift and the

21    pushing/pulling limitation was also removed by her doctor. Ms. Cortez provided this doctor note

22    to Target, on or about, July 18, 2022.

23            Since Ms. Cortez did not hear from Target that she would not be losing her job after

24    providing the most recent doctor note, she became concerned and decided to contact Stephanie

25    McMillan about it. On August 25,2022, Ms. Cortez emailed Ms. McMillan asking about the

26    July 9th letter and explaining she had only a single accommodation of not being able to lift more

27    than 25 pounds. Ms. Cortez asked Ms. McMillan to confirm she would not lose her job because

28    ofher pregnancy. The same day, Ms. McMillan responded via email, and copied Christine

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1     Hadwar on the email. Ms. McMillan indicated she was not sure to what letter Ms. Cortez was

2     referring in her email. The next day, August 26, 2022, Ms. Cortez attached the subject letter to

3     an email and sent it to Ms. McMillan. Within minutes, Ms. McMillan emailed Ms. Cortez back,

4     apologizing and stating the letter was sent in error, HR would be looking into it, and for Ms.

5     Cortez to disregard the letter.

6             Soon after this email exchange with HR,which pointed out the pregnancy discrimination

7     that would occur if her reasonable accommodation were stopped, as threatened by the July 9,

8     2022 letter, the harassment and retaliation towards Ms. Cortez began. On or about August 28,

9     2022, Ms. Cortez became extremely hot while working. She became light headed and she told

10    her supervisor, Operations Manager Kamber Taylor, she was not feeling well. On the way to

11    Medeor, Ms.Taylor told Ms. Cortez that she was just "hormonal" and then proceeded to question

12    Ms. Cortez about her pregnancy. Not feeling well, and not wanting to share personal, private

13    information with a person she didn't really know, Ms. Cortezjust remained quiet, and simply

14    said, in a quiet one, she would rather not talk about her pregnancy.

15            A few days after this incident, while working, Ms. Cortez was approached by Ms. Taylor,

16    and Ms. Taylor's supervisor, Leslie Carroll. They asked Ms. Cortez what had caused the incident

17    she had experienced a couple of days before. Ms. Cortez told them that she had been working

18    hard, it was hot, and maybe her pregnancy had something to do with it, but really didn't know the

19    cause. Ms. Carroll then admonished Ms. Cortez, claiming Ms. Cortez had been disrespectful to

20    Ms. Taylor during this incident for not answering her questions about Ms. Cortez's pregnancy.

21    Ms. Cortez responded by saying she did not want Ms. Taylor calling her "hormonal" and that she

22    didn't want to talk about her pregnancy with Ms. Taylor. Ms. Carroll then stated it had been

23    brought to her attention that the shirt Ms. Cortez was wearing was inappropriate. It was a tank

24    top style shirt, a shirt, or style of shirt, she had worn previously many times to work and the type

25    ofshirt many other workers wore to work. After Ms. Cortez told Ms. Carroll this, Ms. Carroll

26    said it wasn't the style of shirt that was the problem, it was the cleavage of Ms. Cortez's breasts

27    that were the problem. Ms. Cortez was quite shocked, because the shirt completely covered her

28    chest area and no cleavage was showing at all. It was true that her breasts had gotten larger

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 1    because of her pregnancy, of which Ms. Cortez was very conscious, and took care to be

2     conscientious about what she wore. Ms. Carroll then told Ms. Cortez to either change shirts or

3     go to HR. Ms. Cortez said she would go to HR. Ms. Carroll then yelled at her and said HR

4     wasn't there, so she could either change shirts or be sent home. Ms. Cortez became extremely

5     upset because she very much needed her job, but could not help being pregnant and this was

6     clearly about her being pregnant. Ms. Cortez asked for five minutes so she could think about it,

7     and Ms. Carroll said she had five minutes, so Ms. Cortez went into the bathroom.

8             In the bathroom, Ms. Cortez was crying, scared and very upset. She was completely

9     humiliated. When she came out of the bathroom, she told Ms. Taylor she would change shirts so

10    she could continue her shift. Ms. Taylor then said that she could not let Ms. Cortez stay at work

11    because Ms. Cortez's nails were too long. Her nails had been the same length for quite some

12    time, and Ms. Cortez had had no problems, so she knew Target wanted to suspend her because

13    she was pregnant, which she thought might be illegal, so they made something up, in this

14    instance, her nails. Ms.Taylor told Ms. Cortez not to come back to work until her nails were

15    cut.

16            Ms. Cortez returned to work on or about September 5,2022. Ms. Taylor ignored her the

17    whole day. During the day, Operations Manager Mario Salas came up to Ms. Cortez and said Ms.

18    Taylor had asked him to check her finger nails. Mr. Salas looked at them and said he didn't see a

19    problem.

20            On September 10th, Ms. Cortez was at work and was given some tasks to do by Mr. Salas.

21    While doing these tasks she was called by Ms. Taylor to do some other tasks, which she did.

22    Later, Ms. Cortez was called into the office and Ms. Taylor was there. Ms. Taylor started asking

23    her ifthere was "anything wrong at home," to which Ms. Cortez thought was very intrusive, and

24    replied,"no." Ms. Taylor then stated that someone had said they were uncomfortable with the

25    shirt she was wearing. Ms. Cortez's chest was again, completely covered. Ms. Taylor said she

26    had to change and said she would give her another shirt to wear, and asked Ms. Cortez what size

27    shirt she wore. Ms. Cortez said she wore a small. Ms. Taylor then brought Ms. Cortez a very

28

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 1    Large shirt to wear and said it was all she had for Ms. Cortez to wear. Fearing the loss of her job,

2     Ms. Cortez put the oversized shirt on. It looked ridiculous and she was completely humiliated.

3             Over the next few hours, Ms. Cortez continued to work, but with the oversized shirt on,

4     she began to overheat. She told Mr. Salas and he told her to take off the oversized shirt, so she

5     could cool off. When she did, he told her he didn't see a problem with the shirt she had on. A

6     short time later, Mr. Salas approached her with another large shirt and said Ms. Taylor said a

7     second person had complained about Ms. Cortez's shirt and she had to put this other shirt on.

8     Ms. Cortez became very upset and did not want to have to go through this humiliation again, and

9     so told Mr. Salas she was going to KR,which she did.

10            At the HR Department, Javier Cisneros told Ms. Cortez that Christine Hadwar was not

11    there. Ms. Cortez then told Mr. Cisneros about the harassment from Ms. Taylor and Ms. Carroll

12    regarding her shirt and her pregnancy. Mr. Cisneros said that maybe it was because her shirt was

13    sleeveless, but could not offer any policy which indicated what Ms. Cortez was wearing was

14    inappropriate. At some point, Ms. Carroll came in and accused Ms. Cortez of being

15    noncompliant, and she would either have to put another shirt on or be escorted out by security.

16    Ms. Cortez, while again having her job threatened, began to cry and to have what she thought

17    was a panic attack. She then went to the nurse that was nearby and was told her vital signs were

18    too high. She was given ice and some electrolytes to drink by the nurse until her vital signs came

19    back to normal. When she left the nurse's office, Ms. Taylor and Ms. Carroll were waiting for

20    her. She was again told to put on the oversized shirt or leave work. Ms. Cortez put the oversized

21    shirt back on and went back to her department. She tried to work at such a pace that the

22    additional, oversized clothing did not make her overheat again.

23            The next morning, Christine Hadwar came to speak to Ms. Cortez in her department and

24    Ms. Cortez again recounted the harassment and discrimination she had suffered at the hands of

25    Ms. Taylor and Ms. Carroll because of her pregnancy. Ms. Cortez also offered to show Ms.

26    Hadwar photos of herself she had taken wearing the shirts that were supposedly inappropriate.

27    Ms. Hadwar then said the problem really wasn't what Ms. Cortez was wearing, hut how she

28    responded to Ms. Taylor. Ms. Cortez told Ms. Hadwar that she did her job, she did everything

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 1    she was told to do by Ms. Taylor. However, she did not like being called "hormonal" and did not

2     like being asked about her pregnancy or her private life. To these inappropriate statements and

 3    inquiries, Ms. Cortez said she told Ms. Taylor she did not want to discuss them and remained

4     quiet. Ms. Cortez then asked ifthe issue was not how she dressed then what was the issue? Ms.

 5    Cortez then said that she could not help being pregnant. Ms. Hadwar indicated she would get

6     back to her.

 7            On September 12, 2022, Ms. Cortez was given a final corrective action write up from Ms.

 8    Taylor for being disrespectful. Ms. Cortez signed the writeup, but complained she was being

 9    harassed by Ms. Taylor because of her pregnancy and although she does what she is told to do,

10    she ignores Ms. Taylor when she calls her hormonal or asks about her pregnancy.

11            Not knowing what else to do, and feeling that she was going to lose her job, Ms. Cortez

12    sent an email to Ms. Hadwar on September 16, 2022 about the events and conduct indicated

13    above. Ms. Cortez emphasized that she could not help being pregnant, she could not help her

14    breasts getting larger because of her pregnancy, of which she was conscious, and specifically

15    would not wear anything inappropriate. Ms. Cortez pointed out she was being targeted because

16    she was pregnant and there was retaliation against her for complaining about it.

17             Ms. Hadwar sent Ms. Cortez an email stating they would "get together" on Sunday,

18    September 25th,to discuss Ms. Cortez's "concerns."

19             At the meeting on Sunday, September 25th,Ms. Cortez was very surprised when her

20    concerns about Ms. Taylor's harassment and discrimination regarding her pregnancy was not the

21    topic ofthe meeting but about Ms. Cortez having used up all of her "pregnancy restrictions."

22    Ms. Hadwar told her that Target's policy is the company only accommodates pregnancy

23    restrictions for 12 weeks. Ms. Hadwar then told Ms. Cortez that her "pregnancy light duty

24    program" had expired on September 24th and that she wasn't even supposed to be at work. Ms.

25    Hadwar then effectively fired Ms. Cortez right there, by telling her that she could not come back

26    to work until her doctor removed her restriction (in this case,the restriction was lifting more than

27 25 pounds). Ms. Cortez told Ms. Hadwar that it was so unfair and mean because she was being

28    put into a position ofeither endangering her pregnancy or losing her job. She told Ms. Hadwar

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 1    that she could not endanger her baby, but she needed her job and could not afford to be out of

2     work, she wanted to work and needed to work. Ms. Cortez emphasized to Ms. Hadwar that her

3     only restriction was lifting over 25 pounds and she had been doing her job fine since she had

4     been pregnant. Ms. Hadwar instructed Ms. Cortez to leave the workplace.

5             On Monday, September 26,2022, Ms. Cortez was still listed on the schedule to work.

6     She feared she was being set up for termination, and might bc accused of a "no show," so she

7     went into work. She clocked in and saw that she was not on the board so she asked Mr. Salas

8     why. Mr. Salas said that Ms. Hadwar told him that she [Ms. Cortez] was no longer coming into

9     work and that she should only speak to Ms. Hadwar. Ms. Cortez then went to the HR

10    Department and spoke to Ms. Hadwar again. Ms. Hadwar again told Ms. Cortez that she would

11    not be allowed to work unless the restriction related to her pregnancy was removed. Ms. Cortez

12    said she was still pregnant, she was going to stay pregnant and the restriction wasn't going away.

13    Ms. Hadwar then said that Ms. Cortez had exhausted her 12 weeks ofaccommodation and would

14    have to go on "leave of absence." Then she told Ms. Cortez to clock out.

15            Ms. Cortez was completely distraught. She was five months pregnant, and now without a

16 job because she was pregnant. Not knowing what to do,she sent Ms. Hadwar on email on
17    September 27,2022, stating what had transpired. Ms. Cortez stated she was five months

18    pregnant and this was the time she really needed to work and wanted to work. She emphasized

19    that she had been doing her job and asked Ms. Hadwar to help her keep working, but without

20    endangering her baby. Ms. Cortez indicated she planned on working up to the time she had to

21    take maternity leave in order to deliver the baby, and asked why she wasn't allowed to work

22    because of her pregnancy. She also stated that not allowing her to work was causing her

23    significant stress. Ms. Hadwar did not respond.

24             As instructed by Ms. Hadwar, Ms. Cortez called the number she was given and believes

25    she opened her leave of absence. On November 23,2022, she received an email from Target

26    stating her request for leave was denied. On December 8,2022, Ms. Cortez received an email

27    from Target stating her leave request was cancelled because the case was "opened in error." On

28    March 13,2022, Ms. Cortez received a letter from Zachary Taylor from Target's Human

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 1    Resources Department stating that her absences from September 26, 2022 forward, were

2     unexcused.

3             During the period of time Ms. Cortez had the reasonable accommodation of not lifting

4     anything over 25 pounds,she continued to do her job without any issue. At no time did Target

5     ever engage in any kind of interactive process with Ms. Cortez during the time she was pregnant

6     and working for Target. Even though Ms. Cortez continued doing her job as a warehouse worker

7     without any issue, while she was pregnant, Target never offered to find her ajob in which lifting

8     25 pounds was not part ofthe job description. Ms. Cortez is unaware ofany investigation

9     undertaken by Target based on her written complaints of disability/pregnancy

10    discrimination/harassment and retaliation.

11            This is by no means a comprehensive list of Ms. Taylor or Defendant Company's

12    misconduct. The pregnancy discrimination and harassment, failure to stop said discrimination

13    and harassment, failure to accommodate Ms. Cortez's pregnancy, and retaliation perpetrated by

14    Defendant Company and Ms. Taylor has resulted in Ms. Cortez suffering significant emotional

15    damages as well as physical injury and sickness and has forced her to seek legal assistance in

16    resolving this matter.

17    13.     Plaintiff's complaints of Individual Defendant's unabated pregnancy based

18    harassment were ignored by Defendant Company. Defendant Company failed to take all

19    reasonable steps to prevent the pregnancy based harassment from occurring. After complaining,

20    Defendant Company and Individual Defendant retaliated against Plaintiff.

21    14.     All ofthe above conduct was unwelcome and was directed towards Plaintiff because of

22    her pregnancy.

23    1 5.    All ofthe above conduct caused Plaintiff to perceive her work environment as

24    intimidating, hostile, abusive or offensive.

25    16.     All of the above conduct was part of an ongoing and continuing pattern of conduct.

26    17.     Plaintiff complained about much of the harassing conduct to managers, supervisors

27    and/or other managing agents of Defendant Company, but nothing was done to end the

28    harassment and retaliation.

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1     18.     Defendant Company knowingly exposed their employees to discrimination, harassment

2     and retaliation based on pregnancy by failing to take effective remedial action after learning of

3     tbe acts of said discrimination, harassment and retaliation,by Individual Defendant and

4     Defendant Company.

5     19.     Defendant Company failed to conduct a prompt and thorough investigation into

6     allegations of pregnancy discrimination, harassment and retaliation made by Plaintiff.

7     20.     Defendant Company ratified, authorized, approved, and/or ratified the wrongful acts of

8     Individual Defendant and itself.

9     21.     Defendant Company failed to reprimand and/or discipline Individual Defendant

10    and/or take other forms ofremedial action regarding Individual Defendant to prevent the

11    pregnancy discrimination/sexual harassment from occurring.

12 22.        Defendant Company failed to monitor the ongoing conduct ofIndividual Defendant.

13    23.     Defendant Company acted in conscious disregard of the rights or safety oftheir

14    employees and persons providing services pursuant to contract.

15    24.     Had Defendant Company conducted a proper and reasonable investigation of the

16    conduct by Individual Defendant and itself, it would have been forced to document the wrongful

17    conduct, and would have been forced to take the required remedial action, thereby preventing

18    Individual Defendant and itself from engaging in the conduct complained of herein.

19    25.     Defendant Company's failure to take effective remedial action was in conscious

20    disregard ofthe rights or safety of employees.

21    26.     Defendant Company's failure to take remedial action against Individual Defendant was

22    ratification of her conduct by Defendant Company.

23    27.     Defendant Company concealed evidence ofits employee's / managing agents'

24    harassment/discrimination and/or retaliation to avoid having to exercise its duty to promptly and

25    fully investigate and take remedial action.

26    28.      Defendant Company concealed, ignored, and failed to properly act on the complaints

27    against Individual Defendant and itself.

28    29.      Defendant Company's acts were malicious and oppressive and in conscious disregard of

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 1    the rights or safety ofPlaintiff and other employees/contractors of Defendant Company, and in

2 furtherance of Defendant Company' ratification of the wrongful conduct ofIndividual

3     Defendant. Defendant Company's policy of discrimination and harassment of pregnant

4     employees is malicious and oppressive and in conscious disregard of the rights or safety of

 5    Plaintiff and other employees/contractors of Defendant Company,and in furtherance of

6     Defendant Company's ratification of the wrongful conduct ofIndividual Defendant,

7     30.     The conduct of Defendant Company and Individual Defendant, as complained of herein,

 8    caused Plaintiff to be constantly apprehensive and fearful that Individual Defendant could and

9     would, at her whim,subject her to unwanted pregnancy discrimination, harassment and

10    retaliation, such as calling Plaintiff names related to her pregnancy, asking private personal

11    questions about her pregnancy, requiring her to wear over-sized and additional clothing because

12    of her pregnancy,forcing her out of the workplace because of her pregnancy, and/or other

13    harmful or adverse treatment.

14    31.     Because of Defendant Company' conduct complained of herein, Individual Defendant at

15    all times material herein, had the ability to subject Plaintiffto adverse conduct anytime she so

16    desired.

17    32.     At all relevant times herein, Defendant Company and/or its agents/employees harassed,

18    discriminated against, retaliated against, and/or created a hostile work environment situation for

19    Plaintiff.

20    33.     Plaintiff filed timely complaints against the Defendant Company and Individual

21    Defendant with the California Civil Rights Department("CRD")alleging pregnancy

22    discrimination, pregnancy harassment, denial ofaccommodation for pregnancy, retaliation and

23    failure to prevent pregnancy harassment/discrimination.

24    34.     Thereafter, Plaintiff received from the CRD notification of her Right To Sue in the

25    Courts ofthe State of California the Defendant Company and Individual Defendant for which

26    complaints had been filed, and subsequently served on Defendant Company and Individual

27    Defendant with the Charges of Discrimination and Right to Sue Notices via United States

28    Certified Mail, return receipt requested, as required by Government Code section 12962.

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 1    35.      The conduct of Defendant Company and Individual Defendant and/or their
                                                                                         willful
2 agents/employees as described herein was malicious, and/or oppressive, and done with a

3     and conscious disregard for Plaintiff's rights and for the deleterious consequences of Defendant

4     Company's actions. Defendant Company and/or its agents/employees or supervisors authorized,

5     condoned and ratified the unlawful conduct ofIndividual Defendant.

6     36.      Defendant Company knowingly violated Plaintiff's right to be free from intentional

 7    offensive, harmful, pregnancy discrimination/harassment, failure to prevent pregnancy

8     discrimination/harassment, failure to accommodate pregnancy and retaliation.
      37.      Defendant Company and DOES 1-50, as complained of herein, established a policy,

10    custom, practice or usage within the organization of Defendant Company, which condoned,

11    encouraged and tolerated and sanctioned, ratified, approved of, and/or acquiesced to pregnancy

12    discrimination/harassment/retaliation towards employees of Defendant Company,including but

13    not limited to the Plaintiff.

14    38.      By reason of the conduct of Defendant Company and Individual Defendant as alleged

15    herein, Plaintiff has necessarily retained attorneys to prosecute the within action. Plaintiffis

16    therefore entitled to reasonable attorney's fees and litigation expenses, including expert witness

17    fees and costs, incurred in bringing the within action. As a result of Defendant Company and

18    Individual Defendant's actions, Plaintiff sustained economic damages to be proven at trial. As a

19 further result of Defendant Company and Individual Defendant's actions, Plaintiff suffered
20    emotional distress as well as physical sickness and injury, resulting in damages to be proven at

21    trial.

22    39.      The above harassing and discriminatory conduct violates Government Code §§ 12940(a)

23    &(j), Civil Code §§ 51,51.5, and 52, and California Public Policy and entitles Plaintiff to all

24    categories of damages,including punitive damages.

25    ///

26    ///

27    ///

28

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                                              SECOND CAUSE OF ACTION

2                                  PLAINTIFF AGAINST ALL DEFENDANTS

3                                   AND DOES 1 THROUGH 50,INCLUSIVE,

4                                  UNLAWFUL PREGNANCY HARASSMENT

5            (VIOLATION OF CAL. GOV.CODE § 12940(j) and California Public Policy)

6     40.      Plaintiff incorporates herein by reference all of the facts and allegations contained in

7     paragraphs 1-39 of this complaint as though fully set forth herein.

8     41.      In perpetrating the above-described conduct, Defendant Company and Individual

9     Defendant engaged in a pattern, practice, policy and custom of unlawful pregnancy

10    discrimination and pregnancy harassment. Said conduct on the part of Defendant Company

11    constituted a policy, practice, tradition, custom and usage which denied Plaintiff protection of

12    California Government Code § 12940(j).

13    42.      At all relevant time periods there existed within the organization of Defendant

14    Company a policy, as well as a pattern and practice of conduct by their personnel which resulted

15    in pregnancy discrimination, and/or pregnancy harassment, and/or retaliation, including but not

16    necessarily limited to, conduct directed at Plaintiff.

17    43.      At all relevant time periods there existed within the organization of Defendant

18    Company a pattern and practice ofconduct by persomiel which resulted in pregnancy harassment

19    toward pregnant women employees, including but not limited to Plaintiff.

20    44.      At all relevant time periods Defendant Company failed to make an adequate response

21    and investigation into the conduct ofIndividual Defendant and Defendant Company and the

22    aforesaid pattern and practice, and thereby established a policy, custom, practice or usage within

23    the organization of Defendant Company which condoned, encouraged, tolerated, sanctioned,

24    ratified, approved of, and/or acquiesced in pregnancy discrimination and/or pregnancy

25    harassment towards employees of Defendant Company,including but not limited to the Plaintiff.

26    45.       During all relevant time periods Defendant Company failed to provide any or adequate

27    training, education, and information to their personnel and most particularly to management and

28    supervisory personnel with regard to policies and procedures regarding pregnancy discrimination,

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 1    pregnancy harassment, and retaliation for complaining of or resisting pregnancy discrimination

2     and pregnancy harassment.

3     46.       Defendant Company and Defendant DOES 1-50, as complained of herein, established a

4     policy, custom, practice or usage within the organization of Defendant Company, which

5     condoned, encouraged and tolerated and sanctioned, ratified, approved of, and/or acquiesced to

6     pregnancy discrimination, pregnancy harassment and retaliation towards employees of Defendant

7     Company,including but not limited to the Plaintiff.

8     47.       By reason ofthe conduct of Defendant Company and Individual Defendant as alleged

9     herein, Plaintiff has necessarily retained attorneys to prosecute the within action. Plaintiff is

10    therefore entitled to reasonable attorney's fees and litigation expenses, including expert witness

11    fees and costs, incurred in bringing the within action. As a result of Defendant Company and

12    Individual Defendant's actions, Plaintiff sustained economic damages to be proven at trial. As a

13    further result of Defendant Company and Individual Defendant's actions, Plaintiff suffered

14    emotional distress, as well as, physical injury and sickness resulting in damages to be proven at

15    trial.

16                                            THIRD CAUSE OF ACTION

17                             PLAINTIFF AGAINST DEFENDANT COMPANY,

18                                   AND DOES 1 THROUGH 50,INCLUSIVE

19             FAILURE TO ACCOMMODATE CONDITIONS RELATED TO PREGNANCY

20                          (VIOLATION OF CAL.GOV.CODE §§ 12940 et seq.)

21    48.       Plaintiffincorporates herein by reference all of the facts and allegations contained in

22     paragraphs 1-47 ofthis complaint as though fully set forth herein.

23    49.       At all times mentioned herein, FEHA was in full force and effect and Defendants

24     were and are subject to its requirements.

25     50.      As discussed in detail herein, Plaintiff, a qualified individual, was pregnant during part of

26     her employment with Defendant Company, which is a condition covered by FEHA and for which

27     she requested a single accommodation. Plaintiff was accommodated for a short period oftime,

28     and easily performed her job without difficulty. Defendant Company removed the single

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 1     accommodation that had been provided to Plaintiff, as a matter of policy, and thereafter refused

2      and failed to provide Plaintiff with this reasonable accommodation, causing Defendant Company

3      to separate Plaintiff from her employment.

4      51.     The aforementioned conduct constituted a failure to provide a reasonable

5      accommodation in violation ofFEHA.

6      52.     As a proximate result of Defendant Company's unlawful conduct, Plaintiff has suffered

 7     loss ofincome and other employment-related benefits in an amount unknown at this time, but

8      according to proof at trial.

9      53.     As a further result of Defendant Company and Individual Defendant's actions, Plaintiff

10     suffered emotional distress, as well as, physical injury and sickness resulting in damages to be

11     proven at trial.

12     54.     As a further proximate result ofthe aforementioned wrongful conduct, Plaintiff

13     has had to employ the services of attorneys to pursue her legal rights. Plaintiff is entitled to an

14     award of attorneys' fees and costs pursuant to FEHA and according to proof at the time of trial.

15     55.     Defendant Company committed the acts alleged herein maliciously, fraudulently, and

16     oppressively, in bad faith, with the wrongful intention ofinjuring Plaintiff, from an improper and

17     evil motive amounting to malice, and/or in conscious disregard of Plaintiff's rights. Plaintiff is

18     thus entitled to an award of exemplary and punitive damages according to proof at trial.

19                                            FOURTH CAUSE OF ACTION

20                              PLAINTIFF AGAINST DEFENDANT COMPANY,

21                                   AND DOES 1 THROUGH 50,INCLUSIVE

22                FAILURE TO ENGAGE IN INTERACTIVE PROCESS - PREGNANCY

23                           (VIOLATION OF CAL. GOV.CODE §§ 12940 et seq.

24     56.     Plaintiffincorporates herein by reference all ofthe facts and allegations contained in

25     paragraphs 1- 55 of this complaint as though fully set forth herein.

26     57.     Plaintiff was pregnant, which is treated as a disability under FEHA. Plaintiff required a

27     single accommodation (i.e. no lifting more than 25 pounds) because of her pregnancy. Defendant

28     Company provided this reasonable accommodation for a period of 12 weeks, during which time

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 1    Plaintiff capably performed her job without issue. After 12 weeks, Defendant Company refused

2     to provide the reasonable accommodation to Plaintiff any longer. This effectively ended

3     Plaintiffs employment, or at a minimum, acted as a suspension without pay.

4     58.      Plaintiff was a qualified individual, who was pregnant, and with a reasonable

5     accommodation performed the essential functions ofthe employment position she desired and

6     held.

7     59.      Defendant Company was aware of Plaintiffs pregnancy when Defendant Company ended

8      Plaintiffs employment. Defendants had a duty to engage in an interactive process with Plaintiff

9     regarding her pregnancy and failed to engage in said process.

10 60.         Plaintiff's status as a pregnant individual was the factor which led to Defendant

11     Company's decision to suspend Plaintiff's employment.

12 61.         As a further result of Defendant Company and Individual Defendant's actions, Plaintiff

13     suffered emotional distress, as well as, physical injury and sickness resulting in damages to be

14     proven at trial.

15    62.      Defendant Company committed the acts alleged herein maliciously, fraudulently, and

16     oppressively, in bad faith, with the wrongful intention of injuring Plaintiff, from an improper and

17     evil motive amounting to malice, and/or in conscious disregard ofPlaintiff's rights. Plaintiff is

18     thus entitled to an award of exemplary and punitive damages according to proof at trial.

19                                            FIFTH CAUSE OF ACTION

20                             PLAINTIFF AGAINST DEFENDANT COMPANY,

21                                   AND DOES I THROUGH 50,INCLUSIVE

22      FAILURE TO PREVENT DISCRIMINATION,HARASSMENT,AND RETALIATION

23                         (VIOLATION OF CAL,GOV. CODE §§ 12940(j)&(k))

24 63.         Plaintiffrestates and incorporates by this reference each and every allegation contained in

25     paragraphs 1 through 62,inclusive, hereof as fully as if set forth herein.

26     64.     In violation of California Government Code §§ 12940(j)&(k)Defendant Company

27     failed to take all reasonable steps necessary to prevent pregnancy discrimination and pregnancy

28     harassment from occurring, and retaliation against employees,including Plaintiff, for opposing

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 1    forbidden practices.

2 65.          In perpetrating the above-described conduct, Defendant Company engaged in a pattern,

3     practice, policy and custom of unlawful pregnancy discrimination and pregnancy harassment.

4     Said conduct on the part of Defendant Company constituted a policy, practice, tradition, custom

5     and usage which denied Plaintiff protection of California Government Code § 12940(a) and (j).

6 66.          At all relevant time periods there existed within the organization of Defendant

7     Company a pattern and practice of conduct by their personnel which resulted in pregnancy

8     discrimination, and/or pregnancy harassment, and/or retaliation, including but not necessarily

9 limited to, conduct directed at Plaintiff. There also existed within Defendant Company a policy
10     which discriminated against pregnant employees, which was known and enforced by Defendant

11    Company.

12 67.         At all relevant time periods there existed within the organization of Defendant

13    Company a pattern and practice ofconduct by personnel which resulted in retaliation toward

14    anyone,including but not limited to Plaintiff, who opposed or complained of pregnancy

15     discrimination or pregnancy harassment.

16 68.         At all relevant time periods Defendant Company failed to adequately train, or make an

17    adequate response and investigation into the conduct ofIndividual Defendant and Defendant

18    Company and the aforesaid pattern and practice, and thereby established a policy, custom,

19     practice or usage within the organization of Defendant Company which condoned, encouraged,

20     tolerated, sanctioned, ratified, approved of, and/or acquiesced in pregnancy discrimination and/or

21     pregnancy harassment towards employees of Defendant Company,including but not limited to,

22     the Plaintiff.

23    69.      During all relevant time periods, Defendant Company failed to provide any or adequate

24    training, education, and information to their personnel and most particularly to management and

25     supervisory personnel with regard to policies and procedures regarding pregnancy discrimination,

26     pregnancy harassment, and retaliation for complaining of, or resisting, pregnancy discrimination

27     and pregnancy harassment.

28    70.       Defendant Company knew or reasonably should have known that the failure to provide

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 I    any or adequate education, training, and information as to their personnel policies and practices

2     regarding pregnancy discrimination, pregnancy harassment, and retaliation for complaining or

3      resisting pregnancy discrimination and pregnancy harassment, would result in pregnancy

4     discrimination, harassment, and retaliation against employees,including but not limited to,the

 5    Plaintiff, for complaining of or resisting the same.

6     71.      By the acts or failures to act of policy-making personnel within the organization of

7      Defendant Company,including Individual Defendant, Defendant Company were deliberately

8      indifferent to the need to provide any or adequate training, education, and information to the

9      personnel of Defendant Company as to policies regarding pregnancy discrimination and

10     pregnancy harassment, and retaliation for complaining of, or resisting, the same.

11    72.      The failure of Defendant Company to provide any or adequate education, training, and

12 information to personnel concerning policies and practices regarding pregnancy discrimination,
13     pregnancy harassment,and retaliation for complaining of, or resisting, the same, constituted

14     deliberate indifference to the rights of employees, including but not limited to those ofthe

15     Plaintiff, under California Government Code § 12940(a)(h),(i),(j) and (k).

16    73.      The conduct set forth herein, including the failure to establish and/or enforce any

17     adequate policy and procedure regarding pregnancy discrimination, pregnancy harassment and

18     retaliation for complaining of, or resisting, the same, established in the organization of Defendant

19     Company a policy and custom ofordering, ignoring, encouraging, improving, causing, tolerating,

20     sanctioning, and/or acquiescing in the violation by personnel of Defendant Company ofthe rights

21     ofemployees, including, but not limited to, those of the Plaintiff, under California Government

22     Code § 12940(a)(h),(i),(j) and (k).

23    74.      As a direct and legal result of Defendant Company's unlawful conduct, Plaintiff's

24     employment was constructively terminated and she was forced to look for alternative

25     employment. Due to Defendant Company's conduct, Plaintiff has suffered damages as set forth

26     herein, including but not limited to, loss of earnings and other employment benefits.

27    75.      The conduct of Defendant Company and/or its agents/employees as described herein

28     was malicious, and/or oppressive, and done with a willful and conscious disregard for Plaintiff's

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 1    rights and for the deleterious consequences of Defendant Company's actions. Defendant

2     Company and/or their agents/employees or supervisors authorized, condoned and ratified the

3     unlawful conduct ofIndividual Defendant and enforced a policy of pregnancy discrimination and

4     pregnancy harassment against Plaintiff and others. Consequently, Plaintiff is entitled to punitive

5     damages against Defendant Company.

6                                            SIXTH CAUSE OF ACTION

7           PLAINTIFF AGAINST DEFENDANT COMPANY AND DOES 1 THROUGH 50

8                                                 INCLUSIVE,

9     RETALIATION FOR OPPOSING AND COMPLAINING OF FORBIDDEN PRACTICES

10    76.     Plaintiff restates and incorporates by this reference each and every allegation contained in

11    paragraphs 1 through 75, inclusive, hereof as fully as if set forth herein.

12    77.     In violation of California Government Code § 12940(h)Defendant Company and

13    Individual Defendant retaliated against Plaintifffor having opposed, resisted, and complained of

14    the acts alleged herein.

15    78.     Due to Defendant Company and Individual Defendant's conduct, Plaintiff has

16    suffered damages as set forth herein, including but not limited to, loss of earnings and other

17    employment benefits, and out of pocket costs.

18    79.     The conduct ofDefendant Company and Individual Defendant and their

19    agents/employees as described herein was malicious, and/or oppressive, and done with a willful

20    and conscious disregard for Plaintiff's rights and for the deleterious consequences of Defendant

21    Company and Individual Defendant's actions. Defendant Company and Individual Defendant

22    and/or their agents/employees or supervisors authorized, condoned and ratified the unlawful

23    conduct ofIndividual Defendant and Defendant Company. Consequently, Plaintiff is entitled to

24    punitive damages against Defendant Company and Individual Defendant.

25    80.     By reason ofthe conduct of Defendant Company and Individual Defendant as alleged

26    herein, Plaintiff has necessarily retained attorneys to prosecute the within action. Plaintiff is

27    therefore entitled to reasonable attorney's fees and litigation expenses,including expert witness

28    fees and costs, incurred in bringing the within action. As a result of Defendant Company and

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 1    Individual Defendant's actions, Plaintiff sustained economic damages to be proven at trial. As a

2 further result of Defendant Company and Individual Defendant's actions, Plaintiff suffered
                                                                                       be proven at
3 emotional distress, as well as physical injury and sickness, resulting in damages to
4     trial.

 5                                            SEVENTH CAUSE OF ACTION

6                              PLAINTIFF AGAINST DEFENDANT COMPANY

7                                    AND DOES 1 THROUGH 50,INCLUSIVE,

 8                                             FOR INJUNCTIVE RELIEF

9     81.      Plaintiff repeats and re-alleges Paragraphs 1 through 80,inclusive, above, and

10    incorporates same herein as though set forth in full.

11    82.      The acts and omissions ofthe Defendant Company,and each ofthem, have caused

12    irreparable harm to Plaintiff and will continue to cause irreparable harm to current employees

13    unless the complained ofconduct is enjoined. There is no immediate, adequate or speedy

14    remedy at law to redress the continuing pregnancy harassing, discriminatory and/or retaliatory

15     policies and practices of Defendant Company, and, therefore, Plaintiff seeks affirmative and

16     injunctive relief as follows:

17                     (a)       for an injunction restraining Defendant Company, and each of them,from

18     continuing or maintaining any policy, practice, custom or usage which is harassing,

19     discriminatory and/or retaliatory in nature, based on pregnancy, against any employee exercising

20     his/her rights under the California Fair Employment and Housing Act("FEHA");

21                     (b)       for an injunction restraining Defendant Company, along with all

22 Defendant Company's supervising employees, agents and all those subject to its control or acting
23     in concert with it from causing, encouraging, condoning or permitting the practice of harassment,

24     discrimination, and/or retaliation and wilful violations ofFEHA, based on pregnancy;

25                     (c)       for affirmative relief requiring Defendant Company to conduct training of

26     all employees to "sensitize" them to the harmful nature of harassing, discriminating, and

27     retaliating against an employee exercising his/her rights under FEHA, based on pregnancy. The

28     proposed plan ofeducation and training should also include training and detection, and

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 I     correction and prevention of such retaliatory practices;

2                       (d)      for affirmative relief requiring Defendant Company to notify all employees

 3     and supervisors, through individual letters and permanent postings in prominent locations in all

4      offices that retaliation violates the California Fair Employment and Housing Act and the

5      consequences of violation of such laws and policies;

6                       (e)      for affirmative relief requiring Defendant Company to develop clear and

7      effective policies and procedures for employees complaining of retaliation or violations of FEHA

8      so they may have their complaints promptly and thoroughly investigated (by a neutral fact finder)

9      and informal as well as formal processes for hearing, adjudication and appeal ofthe complaints;

10     and

11                               for affirmative relief requiring Defendant Company to develop appropriate

12     sanctions or disciplinary measures for supervisors or other employees who are found to have

13     committed harassing, discriminatory and/or retaliatory acts, based on pregnancy, including

14     warnings to the offending person and notations in that person's employment record for reference

15     in the event future complaints are directed against that person, and dismissal where other

16     measures fail.

17                                            PRAYER FOR RELIEF

18              WHEREFORE,Plaintiff requests the following judgment and relief:

19             AS TO ALL CAUSES OF ACTION:

20     1.      That Plaintiff be awarded general and consequential damages in amounts to be proven at

21             trial;

22 2.          That Plaintiff be awarded costs of suit and interest incurred as provided by law;

23     3.      That Plaintiff be awarded punitive damages against defendants according to proof at trial;

24     4.      For the costs ofthe suit herein incurred; attorney's fees; prejudgment and post judgment

25             interest until paid;

26     5.      For statutory attorney's fees and costs related hereto;

27 6.          That this court award such further relief, including, but not limited to,injunctive relief, as

28              the court deems just and proper.

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1            Plaintiff further requests a trial by jury on all issues so triable.

2
                                                      Respectfully Requested,
3
                                                      LAW OFFICES OF JOHN           . DALTON
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      DATED: June      q,    2023
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                                                      A orneys for Plaintiff
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                                            SUMMONS                                                                     FOR COURT USE ONLY
                                                                                                                    (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):                                                                                        Electronically FILED by
                                                                                                             Superior Court of California,
 TARGET CORPORATION,A CALIFORNIA CORPORATION,                                                                County of Los Angeles
 KAMBER TAYLOR, AN INDIVIDUAL and DOES 1-50, inclusive.                                                      6/09/2023 4:39 PM
                                                                                                             David W. Slayton,
YOU ARE BEING SUED BY PLAINTIFF:                                                                             Executive Officer/Clerk of Court,
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                          By Y. Tarasyuk, Deputy Clerk

 CATARINA CORTEZ

 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and mom information at the California Courts
 Online Self-Help Center(www courtinface.goviselthelp). your county law library, or the courthouse nearest you. If you cannot pay the tiling fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site(www lawhelpcelifornia.org), the California Courts Online Self-Help Center
 (www.courtinio.ca.govisaffhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  pIl1I7S01 Lo hen demandado. Si no responds dentro de 30 dies, la code puede decidir en su contra sin escuchar su version. Lea la informaciOn a
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     77ene 30 DIAS DE CALENDARIO despues de que le entreguen este cited& y papeles legates pare presenter una respuesta por escrito en esta
 code y hacer que se entregue una copia al demandente Una carte o una Ilamada telefenica no to pro/open. Su respueste por escrito liens que estar
  en format° legal correct° al desea que procesen su caso en la carte. Es posible qua hays un formulario que usted puede user pare so raspuesta.
  Puede encontrer ashes forrnutanos de la code y mas informed& en el Centro de Ayude dales Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de (eyes de Si, condado o en le carte que le quede mes cerca Si no puede pager la ovate de presentaciOn, pida at secretarlo de la code
  que le de un formulario de exendon de pago de cuotas Si no presents su respuesta a tlempo, puede perder el caso per incumplimiento y Is carte le
  podre guitar su sue/do, diner° y bienes sin meg acNertencla.
    Hey ofros requisitos legates. Es recomendable que llama a un abogado inmediatemente. Si no conoce a un abogado, puede Hamar a un servicio de
  remisiOn a abogados. Si no puede pager a un abogado, as posibie que cumpie con los requisitos pare obtener servicios legales gratuitos de un
  programa de servicios legates sin fines de ludo. Puede enoontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Conies de California,(www.sucorte.ca.gov) o poniendose an contacto con la carte o el
  coleglo de abogados locales. AVISO:Par ley, la carte ttene derecho a reclamar las cuotas y los castes exentos por imponer un gravamen sobre
  cualquier recuperaclOn de $10,0006 mas de valor recilaIde medlante an award° o una concestOn de arbitreje on un caso de derecho civil. Tiene que
  pager el gravamen de Is code antes de que le code puede desechar el caso.
 The name and address of the court is:                                                                    CASE NUMBER:
                                                                                                         (Nilmer° del Caw):
(El nombre y direcciOn de la carte es): Los Angeles County Superior Court
 Stanley Mosk Courthouse, 111 N. Hill Street, Los Angeles, CA 90012                                         23ST CV 1 3324

 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, direcciOn y el nOmero de tel6fono del abogado del demandente, o del demandante quo no (lane abogado, es):
 John Dalton, Esq., Law Offices of John Dalton, 990 Highland Dr., Suite 102, CA 92075

 DATE: June 9, 2023                  David W. Slayton, Executive   Officerf Clerk of Court
                                                               t.;lent, by                                                                            , Deputy
(FeCha) 06/0912023                                                   (SecretanO) Y. Tarasyuk                                                           (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatibn use of formulario Proof of Service of Summons,(POS-010)).
                                  N OTICE TO THE PERSON SERVED: You are served
                                  1. I—) as an individual defendant.
                                  2. 1---1 as the person sued under the fictitious name of (specify):


                                       3, ED on behalf of(specify): Target Corporation, A California Corporation

                                            under: X I CCP 416.10 (corporation)                E-1 CCP 416.60 (minor)
                                                       CCP 416.20 (defunct corporation)        F.7 CCP 416.70(conservatee)
                                                 -
                                                 1   1 CCP 416.40 (association or partnership) E-1 CCP 416.90 (authorized person)
                                                  7  -1 other (specify):
                                       4.        by personal delivery on (date):
                                                                                                                                                          Pape 1 of 1
  Form Adopted for Mandatory Use
    Judicial Council of Calfornia                                      SUMMONS                                                 Code or Civil Procedure §§ 41220, 465
                                                                                                                                                 w ww courfinfo ca goy
   SUM-100 Rev July 1, 2009
   Case 2:23-cv-06284-JFW-MAR                                 Document 1-2               Filed 08/02/23               Page 26 of 107 Page
                                                                   ID #:45
                                                                                                                                                      CM-010
                      (183685)ORNEY
 ATTORNEY OR PARTY IMTHOLIT ATT     (Name, State Bar number, and address):                                                  FOR COURT USE ONLY
— John Dalton, Esq.
  Law Offices of John W. Dalton
 990 Hi bland Drive, Suite 102
  Solana.Beach, CA 92075
       TELEPHONE NO.:   (858)720-8422             FAX NO:                                                       Electronically FILED by
 ATTORNEY FOR (Name):   Plaintiff Catarina Cortez                                                               Superior Court of California,
SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS Angeles                                                              County of Los Angeles
     STREET ADDRESS:     111 N. Hill Street                                                                     6/09/2023 4:39 PM
     MAILING ADDRESS:
                                                                                                                David W. Slayton,
                                                                                                                Executive Officer/Clerk of Court,
    crivAt•0ZIP CXZE: Los Angeles 90012                                                                         By Y. Tarasyuk, Deputy Clerk
         BRANCH NAME:    Stanley Mosk Courthouse
  CASE NAME:
  Catarina Cortez v. Target Corporation, et al.
                                                                                                      CASE NUMBER:
     CIVIL CASE COVER SHEET                                Complex Case Designation
 i Unlimited                    I Limited
                                                             Counter                 Joinder
                                                                                                        23ST CV 1 3324
      (Amount '                   (Amount                                                              JUDGE:
       demanded                   demanded is         Filed with first appearance by defendant
       exceeds $26,000)           $25,000 or less)       (Cal. Rules of Court, rule 3.402)              DEPT:

                                     Items 1-6 below must be completed (see instructions on page 2).
1 Check one box below for the case type that best describes this case:
   Auto Tort                                        Contract                                   Provisionally Complex Civil Litigation
  = Auto (22)                                       1=     Breach of contractIwarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
          Uninsured motorist(46)                    Ell Rule 3.740 collections(09)             LII Antitrust/Trade regulation (03)
  Other PI/PD/WD (Personal Injury/Property         0 Other collections(09)                           Construction defect(10)
   Damage/Wrongful Death)Tort                       LJ Insurance coverage(18)                  ED Mass tort (40)
   ED Asbestos(04)                                         Other contract(37)                  ED Securities litigation (28)
   El Product liability (24)                        Real Property                                     Environmental/Toxic tort (30)
  Fl Medical malpractice (45)                       I 1 condemnation
                                                           Eminent domain/Inverse              LII    Insurance coverage claims arising from the
   F-1 Other PI/PD/WD (23)                                                (14)                        above listed provisionally complex case
                                                                                                      types(41)
    Non-PUPDAND (Other) Tort                        LII    Wrongful  eviction (33)
   LIII Business tort/unfair business practice (07) I      Other real property (26)            Enforcement of Judgment
   E J Civil rights(08)                             Unlawful Detainer                          El E• nforcement ofjudgment(20)
         Defamation(13)                                    Commercial(31)                       Miscellaneous Civil Complaint
          Fraud (16)                                LIII Residential(32)                       1-1 R• ICO(27)
          Intellectual property (19)               0 Drugs (38)                                -
                                                                                               I 1 O• ther complaint (not specified above)(42)
         Professional negligence (25)               Judicial Review                            Miscellaneous Civil Petition
         Other non-PIIPD/WD tort(35)               0 Asset forfeiture (05)                    0 Partnership and corporate governance (21)
   Employment                                       El Petition re: arbitration award (11) T1 Other petition (not specified above)(43)
          Wrongful termination (36)                 El Writ of mandate (02)
  ri Other employment(15)                          ( I Other judicial review (39)
2. This case I 1 is            LLI is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
    a.= Large number of separately represented parties                  d El Large number of witnesses
    b.= Extensive motion practice raising difficult or novel e. Fl Coordination with related actions pending in one or more courts
              issues that will be time-consuming to resolve                      in other counties, states, or countries, or In a federal court
    c.= Substantial amount of documentary evidence                         I I Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): al 1 monetary b.rn nonmonetary; declaratory or injunctive relief c.17punitive
4. Number of causes of action (specify): Seven- Pregnancy Discrimination/Harassment, Failure to Prevent, et al.
5. This case =is         El is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case (
Date: June      q,2023
                         John Dalton
                             (TYPE OR PRINT NAME)
                                                                       OT10E
 • Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
     in sanctions.
 • File this cover sheet In addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq, of the California Rules of Court, you must serve a copy of this cover sheet on all
     other parties to the action or proceeding,
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                     Par 11212
Form Adopted tor Mandatory Use                                                                         Cal Rules of Court, rules 2.30.3 220.3400-3,403,3 740;
  JUCfiCial Council 01 California                    CIVIL CASE COVER SHEET                                   Cal. Standards of Judicial Administration, std 3 10
  CM-010(Rey. July 1,20071                                                                                                                     www.00tottnto.ca goy
    Case 2:23-cv-06284-JFW-MAR                        Document 1-2                Filed 08/02/23         Page 27 of 107 Page
                                                           ID #:46
                                                                                                                                     CM-010
                                   I NSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) In a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete Items 1 through 6 on the sheet. In Item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that Is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not Include an action seeking the following:(1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE  TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
         DamageNVrongful Death                           Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
    Uninsured Motorist(46)(if the                            Contract (not unlawful detainer            Construction Defect(10)
         case involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort(40)
         motorist claim subject to                       Contract/Warranty Breach—Seller                Securities Litigation (28)
         erbitration, check this item                        Plaintiff(not fraud or negligence)          Environmental/Toxic Tort(30)
         instead of Auto)                                Negligent Breach of Contract/                   Insurance Coverage Claims
Other PIIPD/WD (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type listed above)(41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
    Asbestos(04)                                         book accounts)(09)                              Enforcement of Judgment(20)
         Asbestos Property Damage                        Collection Case—Seller Plaintiff                    Abstract of Judgment(Out of
         Asbestos Personal Injury/                       Other Promissory Note/Collections                         County)
              Wrongful Death                                 Case                                            Confession of Judgment(non-
    Product Liability (not asbestos or               Insurance Coverage (not provisionally                         domestic relations)
         toxic/environmental)(24)                        complex)(18)                                        Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
         Medical Malpractice—                            Other Coverage                                         (not unpaid taxes)
              Physicians & Surgeons                 Other Contract (37)                                      Petition/Certification of Entry of
         Other Professional Health Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
               Malpractice                               Other Contract Dispute                              Other Enforcement of Judgment
    Other PUPD/WD (23)                           Real Property                                                    Case
         Premises Liability (e.g., slip             Eminent Domain/inverse                           Miscellaneous Civil Complaint
              and fall)                                  Condemnation (14)                               RICO (27)
         Intentional Bodily Injury/PO/WO             Wrongful Eviction (33)                              Other Complaint (not specified
             (e.g., assault, vandalism)                                                                      above)(42)
                                                     Other Real Property (e.g., quiet title)(26)
         Intentional Infliction of                       Writ of Possession of Real Property                 Declaratory Relief Only
              Emotional Distress                                                                             I njunctive Relief Only (non-
                                                         Mortgage Foreclosure
         Negligent Infliction of                                                                                   harassment)
                                                         Quiet Title
              Emotional Distress                         Other Real Property (not eminent                    Mechanics Lien
         Other PI/PD/WD                                  domain, landlord/tenant, or                         Other Commercial Complaint
Non-PUPD/WD(Other) Tort                                  foreclosure)                                              Case (non-tort/non-complex)
    Business Tort/Unfair Business                Unlawful Detainer                                           Other Civil Complaint
        Practice (07)                                                                                            (non-tort/non-complex)
                                                     Commercial (31)
    Civil Rights (e.g., discrimination,                                                              Miscellaneous civil Petition
                                                     Residential (32)                                    Partnership and Corporate
        false arrest)(not civil                      Drugs (38)(if the case involves Illegal
         harassment)(08)                                                                                     Governance (21)
                                                         drugs, check this item; otherwise,              Other Petition (not specified
    Defamation (e.g., slander, libel)                    report as Commercial or Residential)
         (13)                                                                                                above)(43)
                                                 Judicial Review                                             Civil Harassment
    Fraud (16)                                       Asset Forfeiture (05)
    Intellectual Property(19)                                                                                Workplace Violence
                                                     Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
    Professional Negligence(25)                      Writ of Mandate (02)
        Legal Malpractice                                                                                          Abuse
                                                         Writ—Administrative Mandamus
        Other Professional Malpractice                                                                       Election Contest
                                                         Writ—Mandamus on Limited Court
           (not medical or legal)                                                                            Petition for Name Change
                                                             Case Matter                                     Petition for Relief From Late
     Other Non-PI/PD/WD Tort(35)                         Writ—Other Limited Court Case
Employment                                                                                                         Claim
    Wrongful Termination (36)                                Review                                          Other Civil Petition
    Other Employment(15)                             Other Judicial Review (39)
                                                         Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                             Commissioner Appeals
CM-010 Rev,July 1,20011                                                                                                                Page 2 of 2
                                                     CIVIL CASE COVER SHEET
  Case 2:23-cv-06284-JFW-MAR                                                  Document 1-2 Filed 08/02/23                               Page 28 of 107 Page
                                                                                   ID  #:47
                                                                                    Electronically FILED by
                                                                                         Superior Court of California,
                                                                                         County nf Los.Ange.14:pi
                                                                                                               7
 SHORT TITLE                                                                             M9/2023 4:39 PM              cA5— -V_
Catarina Cortez V. Target Corporation et al.                                             David W. Slayton,                           4 1 -1 I CV 1 3324
                                                                                                                                   .2-
                                                                                         Executive Officer/Clerk of Court,
                                                       - SHEET ADDERICTOWNIt gittigiAisIT OF LOCATION
                                        CIVIL CASE.COVER
                                                   ,
                                                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                   This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
Step 2: in Column 8,check the box for the type of action that best describes the nature of the case.
Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.



                                                   Applicable Reasons for Choosing Courthouse Location (Column C)
                                                                                                                 _
 1.                 Class Actions must be flied In the Stanley Mosk Courthouse, Central District.        7.       Location where petitioner resides.
                                                                                                                                                       _
 2.                 Permissive filing in Central District,                                               8.       Location wherein defendant/respondent functions wholly.

 3.                 Location where cause of action arose.                                                9.       Location where one or more of the parties reside.

 4,                  Location where bodily Injury, death or damage occurred.                             10. Location of Labor Commissioner Office.

 S.                  Location where performance required, or defendant resides.                          11. Mandatory filing location(Hub Cases — unlawful detainer, limited
                                                                                                             non-collection, limited collection).
 6.                    Location of property or permanently garaged vehicle.



                                                   ._
                                                   A                                                          B                                                        C
                                            Civil Case Cover                                         Type of Action                                                Applicable
                                            Sheet Case Type                                         (check only one)                                              Reasons (see
                                                                                                                                                                  Step 3 above)
                                                Auto(22)-        0 2201 Motor Vehicle — Personal Injury/Property Damage/Wrongful                                       1, 4
       Auto Tort




                                                                 Death

                                            Uninsured Motorist • 4601 Uninsured Motorist— Personal Injury/Property                                                    1,4
                                        •         (46)         , Damage/Wrongful Death
      ,




                                              Other Personal     • 2301 Premise Liability (e.g., dangerous conditions of property,                                    1,4
      Other Personal Injury/ Property




                                             Injury/ Property     slip/trip and fall, dog attack, etc.)
                                            Damage/ Wrongful                               _
         Damage/ Wrongful Death




                                                Death (23)       0 2302 Intentional Bodily Injury/Property Damage/Wrongful Death                                      11 4
                                                                ' (e.g., assault, battery, vandalism, etc.)

                                                                 0 2303 Intentional Infliction of Emotional Distress                                                  1,4

                                                                • 2304 Other Personal Injury/Property Damage/Wrongful Death                                           1,4

                                                                 0 2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                            ,       1,4
                                                                 Facility

                                                                 0 2306 Intentional Conduct--Sexual Abuse Case (in any form)                                          1,4



LASC CIV 109 Rev. 01/23                                         CIVIL CASE COVER SHEET ADDENDUM                                                            LASC Local Rule 2.3
For Mandatory Use                                                 AND STATEMENT OF LOCATION
 Case 2:23-cv-06284-JFW-MAR                                          Document 1-2           Filed 08/02/23       Page 29 of 107 Page
                                                                          ID #:48

SHORT TITLE                                                                                                  CASE NUMBER
Catarina Cortez v. Target Corporation et al.


                                            A                                                      B                                    C
                                    Civil.Case.coyer                                   Type of ACtion                                Applicable
                                    Sheet Case type,                                  (check,only one)                             Reasons:(see
                                                                                                                                   Step 3 above)
                                                            DI 2307 Construction Accidents                                              1,4
                                                                    _                                                          -
                               ,          .                 0 2308 Landlord -Tenant Habitability (e.g., bedbugs, mold, etc.)           1,4

                                   Product Liability (24)                                                                              1,4
  Other Personal Injury/




                                                            0 2401 Product Liability(not asbestos or toxic/ environmental)
    Property Damage/
     Wrongful Death




                                                                                                                                      1,3,5
                                                            •'2402 Product Liability -Song-Beverly Consumer Warranty Act(CA
                                                            Civil Code §§1790-1795.8)(Lemon Law)
                                             _
                           _




                                   Medical Malpractice  IN 4501 Medical Malpractice - Physicians & Surgeons                            1,4
                                         (45)                                        _.
                                                        • 4502 Other Professional Health Care Malpractice                              1,4
                                                                                                        _.
                                    Business Tort(07)   0 0701 Other Commercial/Business Tort(not fraud or breach of                  1, 2, 3
  Damage/Wrongful Death




                                                      _ contract)
       Injury/Property




                                     Civil Rights(08)
        Non-Personal




                                                             EI 0801 Civil Rights/Discrimination                                      103
                                     Defamation (13)        0 1301 Defamation (slander/libel)                                         1, 2, 3
            _Tort




                                        Fraud (16)          ' 0 1601 Fraud(no contract)                                               1, 2, 3
                                      Professional          , 0 2501 Legal Malpractice                                                1, 2, 3
                                     Negligence(25)
      _




                                                            0 2502 Other Professional Malpractice(not medical or legal)               1, 2, 3
                                        Other(35)           0 3501 Other Non-Personal Injury/Property Damage Tort                     1, 2, 3
                                       Wrongful             0 3601 Wrongful Termination                                               1, 2, 3
  Employment




                                    Termination (36)
                                   Other Employment         0 1501 Other Employment Complaint Case                                    1, 2,3
                                         (15)
                                                            0 1502 Labor Commissioner Appeals                                           10

                                   Breach of Contract/      0 0601 Breach of Rental/Lease Contract(not unlawful detainer or            2, 5
                                      Warranty(06)          wrongful eviction)
                                     (not insurance)                                                                      -
                                                            0 0602 Contract/Warranty Breach -Seller Plaintiff(no                       2, 5
                                                             fraud/negligence)
                                                             0 0603 Negligent Breach of Contract/Warranty(no fraud)                   1, 2,5
                                                             0 0604 Other Breach of Contract/Warranty(no fraud/ negligence)           1, 2,5
  Contract




                                                            • 0605 Breach of Rental/Lease Contract(COVID-19 Rental Debt)               2, 5
                                     Collections(09)         0 0901 Collections Case- Seiler Plaintiff                                5, 6, 11
                                                            0 0902 Other Promissory Note/Collections Case                              5, 11
                                                            0 0903 Collections Case - Purchased Debt(charged off consumer debt        5, 6, 11
                                                            purchased on or after January 1, 2014)
                                                             0 0904 Collections Case -COVID-19 Rental Debt                             5, 11
                                   Insurance Coverage        0 1801 Insurance Coverage(not complex)                                  1, 2, 5, 8
                                          (18)



LA5C CIV 109 Rev. 01/23                                     CIVIL CASE COVER SHEET ADDENDUM                                    LA5C Local Rule 23
For Mandatory Use                                             AND STATEMENT OF LOCATION
  Case 2:23-cv-06284-JFW-MAR                                     Document 1-2           Filed 08/02/23      Page 30 of 107 Page
                                                                      ID #:49

SHORT TITLE                                                                                            CASE NUMBER
Catarina COrt= V. Tarqet Corporation et al.


                                            A                                             B                                            C
                                     CIVIJCaseCoVe'r                              Type of Action                                   Applicable
                                     Sheet Case'Typ.e                            (check only one)                                 Reasons(see'
                                                                                                                                ' Step,labdve)
                                    Other Contract(37) 'CI 3701 Contractual Fraud                                                   1, 2, 3, 5
                     (Continued)




                                                                                           -_
   Contract




                                                         0 3702 Tortious Interference                                              1, 2, 3, 5
                                                         0 3703 Other Contract Dispute(not breach/insurance/fraud/                1, 2,3,8,9
                                                         negligence)
    _                                                                                                                    _
                                     Eminent Domain/ -1 0 1401 Eminent Domain/Condemnation                                            2,6
                                          Inverse      L                                     Number of Parcels
                                    Condemnation (14),
  • ..                             - Wrongful Eviction 0 3301 Wrongful Eviction Case                                                  2,6
  al
 . .
  e
. a.
                                           (33)                                           _
                                        Other Real       0 2601 Mortgage Foreclosure                                                  2,6
  Ii
   a.,
. ce                                   Property (26)     0 2602 Quiet Title                                                           2,6
                                                           0 2603 Other Real Property (not eminent domain,                            2, 6
                                                      .. . landlord/tenant,
                                                         !  ..              foreclosure)
                                    Unlawful Detainer' r‘0-3101 Unlawful Detainer -Commercial(not drugs or wrongful                  6,11
  .-                                - Commercial
                                             _    (31) , eviction)
   a.,                                                 .
   c                                U nlawful Detainer "0 3201 Unlawful Detainer -Residential (not drugs or wrongful                 6,11
  Vti)                              -Residential(32) eviction)
  o
                                    U nlawful Detainer ii 3401 Unlawful Detainer-Post Foreclosure                                   2, 6, 11
 3                                  -Post Foreclosure
 (13
 "
 E                                         (34)
                                    Unlawful Detainer" '0 3801 Unlawful Detainer- Drugs                                             2, 6, 11
                                       -Drugs(38)
                                      Asset Forfeiture  0 0501 Asset Forfeiture Case                                                 2, 3,6
                                     .     (05)
                                        Petition re     0 1101 Petition to Compel/Confirm/Vacate Arbitration                          2,5
                                      Arbitration (11)
   Judicial Review




                                     Writ of Mandate    0 0201 Writ:Administrative Mandamus                                           2,8
                                           (02)        '0 0202 Writ- Mandamus on Limited Court Case Matter ,                           2
                                                         '0 0203 Writ- Other Limited Court Case Review               -                 2
                                      Other Judicial     0 3901 Other Writ/Judicial Review                                            2,8
                                       Review (39)
                                                         • 3902 Administrative Hearing                                                2,8
                                                                         ...                  -
                                                         N _!3903 Parking Appeal                                                      2,8
                                                                                                       _
                                      Antitrust/Trade    0 0301 Antitrust/Trade Regulation
   Provisionally




                                                                                                                                     1, 2;8
     litigation
     Complex




                                    ...Regulation (03)
                                       Asbestos(04)      ,0 0401 Asbestos Property Damage                                            1, 11
                                                          _    ..
                                                         „El 0402 Asbestos Personal Injury/Wrongful Death                             1, 11


LASC CIV 109 Rev. 01/23                                  CIVIL CASE COVER SHEET ADDENDUM                                     LASC Local Rule 2,3
For Mandatory Use                                          AND STATEMENT OF LOCATION
  Case 2:23-cv-06284-JFW-MAR                                                          Document 1-2          Filed 08/02/23     Page 31 of 107 Page
                                                                                           ID #:50

SHORT TITLE                                                                                                               CASE NUMBER
 Catarina Cortez v. Target Corporation et al.


                                                              A           1                                   B                                        C
                                                       Civil Case Cover                               Type of Action                               Applicable
                                                       Sheet Case Type                               (check only one)                             Reasons(see
                                                                                                                                                 Step 3 above:).
                                                       Construction      0 1001 Construction Defect                                                  1, 2, 3
                                                        Defect(10)
   Provisionally Complex




                                                 . Claims Involving      • 4001 Claims Involving Mass Tort                                           1, 2,8
                                                 ' Mass Tort(40)
                                   (Continued)
         Litigation




                                                 ' Securities Litigation • 2801 Securities Litigation Case                                           1, 2,8
                                                          (28)           _
                                                        Toxic Tort       0 3001 Toxic Tort/Environmental                                           1, 2, 3,8
                                                  _Environmental (30)
                                                   Insurance Coverage • 4101 Insurance Coverage/Subrogation (complex case only)                    1, 2, 5,8
                                                       Claims from
                                                    Complex Case (41)
   ,




                                                     Enforcement of      0 2001 Sister State Judgment                                               2, 5, 11
   Enforcement of




                                                      Judgment(20)
                                                                         0 2002 Abstract of Judgment                                                  2,6
     Judgment




                                                                              0 2004 Administrative Agency Award (not unpaid taxes)                   2, 8
                                                                                                                     _
                                                                              • 2005 Petition/Certificate for Entry of Judgment Unpaid Tax            2,8

                                                                              • 2006 Other Enforcement of Judgment Case                              2, 8,9

                                                          RICO (27)
                                                 —




                                                                              0 2701 Racketeering (RICO) Case                                        1, 2,8
   Miscellaneous Civil




                                                     , Other Complaints • 4201 Declaratory Relief Only                                               1, 2,8
      Complaints




                                                        (not specified ' •
                                                                            4202 Injunctive Relief Only(not domestic/harassment)                      2,8
                                                          above)(42)                          _
                                                                         • 4203 Other Commercial Complaint Case(non-                                 1, 2, 8
                                                                         tort/noncomplex)
                                                                              0 4204 Other Civil Complaint(non-tort/non-complex)                     1, 2,8
                                                         _
                                                          Partnership         0 2101 Partnership and Corporation Governance Case                      2,8
                                                         Corporation
   Miscellaneous Civil Petitions




                                                       Governance (21)
                                                        Other Petitions       0 4301 Civil Harassment with Damages                                   2, 3,9
                                                       (not specified
                                                                              0 4302 Workplace Harassment with Damages                               2, 3,9
                                                           a bove)(43)
                                                                              0 4303 Elder/Dependent Adult Abuse Case with Damages                   2, 3,9
                                                                              0 4304 Election Contest                                                  2
                                                                              0 4305 Petition for Change of Name/Change of Gender                     2, 7
                                                                              • 4306 Petition for Relief from Late Claim Law                         2, 3,8
                                                                              0 4307 Other Civil Petition                                             2,9




LASC CIV 109 Rev.01/23                                                        CIVIL CASE COVER SHEET ADDENDUM                                LASC Local Rule 2.3
For Mandatory Use                                                               AND STATEMENT OF LOCATION
  Case 2:23-cv-06284-JFW-MAR                    Document 1-2    Filed 08/02/23          Page 32 of 107 Page
                                                     ID #:51

 SHORT TITLE                                                                      CASE NUMBER
 Catarina Cortez v. Target Corporation at al.

Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
C for the type of action that you have selected. Enter the address, which is the basis for the filing location
including zip code.(No address required for class action cases.)

REASON:                                                         ADDRESS:
0 1. GI 2.•3.•4. 1215.•6.0 7.0 8. In 9.•10.0 11                                        1000 Nicollet Mall
                                                                  [Target Corporation has no Principal Office location In
                                                                    California listed in its California Secretary of State -
 CITY:                                 STATE:       ZIP CODE:    Statement of Information [Code of Civil Procedure section
 Minneapolis                           MN           55403              395.5, Corporation Code section 2105(a)(3)]


Step 5: Certification of Assignment: I certify that this case is properly filed in the Central
District of the Superior Court of California, County of Los Angeles[Code of Civ. Proc., 392 et seq and LASC Local
Rule 2.3(a)(1)(E)]

Dated: 06/09/2023
                                                                        (SIGNATURE OF ATTORNEY/FILING PARTY

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
YOUR NEW COURT CASE:

    1. Original Complaint or Petition.
    2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
    3. Civil Case Cover Sheet Judicial Council form CM-010.
    4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109(01/23).
    5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
    6. A signed order appointing a Guardian ad Utem, Judicial Council form CIV-010, if the plaintiff or
       petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
    7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
       addendum must be served along with the Summons and Complaint, or other initiating pleading in the
       case.




LASC CIV 109 Rev.01/23                   CIVIL CASE COVER SHEET ADDENDUM                               LASC Local Rule 2.3
For Mandatory Use                          AND STATEMENT OF LOCATION
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                                                                                    FILED
                                                                             Superior Court of Califbrnia
1                                                                               County of Los Angeles

2                                                                                  MAYO2 2019
                                                                         Sherri 3Carter,Ex tIve Officer/Clerk
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5
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
6
                                   FOR THE COUNTY OF LOS ANGELES
7

8    IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
     — MANDATORY ELECTRONIC FLUNG )
9    FOR CIVIL
10

11

12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17   following:

18   1) DEFINITIONS
19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20          quickly locate and navigate to a designated point of interest within a document.
21      b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
23      c) "Electronic Envelope" A transaction through the electronic service provider for submission
24          of documents to the Court for processing which may contain one or more PDF documents
25          attached.
26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27          document in electronic form.(California Rules of Court, rule 2.250(b)(7).)

28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1      e) "Electronic Filing Service Provider" An Electronic Filing Service Provider(EFSP)is a
2          person or entity that receives an electronic filing from a party for retransmission to the Court.
3          In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4          agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5       f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6          Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7         (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8          2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
9          process attached to or logically associated with an electronic record and executed or adopted
10         by a person with the intent to sign the electronic record.
11      g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12         in a hypertext or hypermedia document to another in the same or different document.
13      h) "Portable Document Format" A digital document format that preserves all fonts,
14         formatting, colors and graphics of the original source document,regardless of the application
15         platform used.

16   2) MANDATORY ELECTRONIC FILING
17      a) Trial Court Records
18         Pursuant to Government Code section 68150, trial court records may be created, maintained,
19         and preserved in electronic format. Any document that the Court receives electronically must
20         be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21         official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22      b) Represented Litigants
23         Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24         electronically file documents with the Court through an approved EFSP.
25      c) Public Notice
26         The Court has issued a Public Notice with effective dates the Court required parties to
27         electronically file documents through one or more approved EFSPs. Public Notices containing
28         effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

                                                     2:
                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1         d) Documents in Related Cases
2            Documents in related cases must be electronically filed in the eFiling portal for that case type if
3            electronic filing has been implemented in that case type, regardless of whether the case has
4            been related to a Civil case.
5         EXEMPT LITIGANTS
6         a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7            from mandatory electronic filing requirements.
8         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9            Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11            means if the party shows undue hardship or significant prejudice.

12   4) EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14           i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                 Civil Procedure sections 170.6 or 170.3;
16           ii)   Bonds/Undertaking documents;
17           iii) Trial and Evidentiary Hearing Exhibits
18           iv)   Any ex parte application that is filed concurrently with a new complaint including those
19                 that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20            v) Documents submitted conditionally under seal. The actual motion or application shall be
21                 electronically filed. A courtesy copy of the electronically filed motion or application to
22                 submit documents conditionally under seal must be provided with the documents
23                 submitted conditionally under seal.
24        b) Lodgments
25           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26   paper form. The actual document entitled,"Notice of Lodgment," shall be filed electronically.
27   /-
28   1/


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1     5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

 2        Electronic filing service providers must obtain and manage registration information for persons
 3        and entities electronically filing with the court.
 4     6) TECHNICAL REQUIREMENTS

 5        a) Electronic documents must be electronically filed in PDF,text searchable format when
 6           technologically feasible without impairment of the document's image.

 7        b) The table of contents for any filing must be boolunarked.
 8        c) Electronic documents,including but not limited to, declarations, proofs of service, and
 9           exhibits, must be boolcmarked within the document pursuant to California Rules of Court, rule
10            3.1110(0(4). Electronic bookmarks must include links to the first page of each boolunarked
11           item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12            bookedmarked item and briefly describe the item.
13        d) Attachments to primary documents must be boolcmarked. Examples include, but are not
14            limited to, the following:
15           i)     Depositions;
16           ii)    Declarations;
17            iii) Exhibits (including exhibits to declarations);
18           iv)    Transcripts (including excerpts within transcripts);
19            v)    Points and Authorities;
20            vi)   Citations; and
21            vii) Supporting Briefs.
22        e) Use of hyperlinks within documents(including attachments and exhibits) is strongly
23            encouraged.
24            Accompanying Documents
25            Each document acompanying a single pleading must be electronically filed as a separate
26 .          digital PDF document.
27        g) Multiple Documents
28 t          Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                          4
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1        h) Writs and Abstracts
2            Writs and Abstracts must be submitted as a separate electronic envelope.
 3        i) Sealed Documents
4            If and when a judicial officer orders documents to be filed under seal, those documents must be
5            filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6            the documents as sealed at the time of electronic submission is the submitting party's
7            responsibility.
 8        j) Redaction
9            Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10           redact confidential information(such as using initials for names of minors, using the last four
11           digits of a social security number, and using the year for date of birth) so that the information
12:          shall not be publicly displayed.
13        ELECTRONIC FILING SCHEDULE
14 ,      a) Filed Date
15           i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16               shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17               document received electronically on a non-court day, is deemed to have been effectively
18               filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19               Civ. Proc. § 1010.6(b)(3).)
20           ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21               course because of: (1) an interruption in service;(2) a transmission error that is not the
22               fault of the transmitter; or(3) a processing failure that occurs after receipt, the Court may
23               order, either on its own motion or by noticed motion submitted with a declaration for Court
24               consideration, that the document be deemed filed and/or that the document's filing date
25               conform to the attempted transmission date.

26     8) EX PARTE APPLICATIONS
27        a) Ex parte applications and all documents in support thereof must be electronically filed no later
28           than 10:00 a.m. the court day before'the ex parte hearing.


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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        b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2          day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3          application must be provided to the court the day of the ex parte hearing.
4    9) PRINTED COURTESY COPIES
5       a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6          be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7          the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8          by 10:00 a.m. the next business day.
9       b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10         electronic submission) is required for the following documents:
11          i)   Any printed document required pursuant to a Standing or General Order;
12         ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13               pages or more;
14        iii)   Pleadings and motions that include points and authorities;
15        iv)    Demurrers;
16         v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17         vi)   Motions for Summary Judgment/Adjudication; and
18        vii)   Motions to Compel Further Discovery.
19      c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20         additional documents. Courtroom specific courtesy copy guidelines can be found at
21         www.lacourt.org on the Civil webpage under "Courtroom Information."
22    0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23      a) Fees and costs associated with electronic filing must be waived for any litigant who has
24         received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25          1010.6(d)(2).)
26      b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27         section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(1), may be
28         electronically filed in any authorized action or proceeding.


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 ) SIGNATURES ON ELECTRONIC FILING

   For purposes of this General Order, all electronic filings must be in compliance with California

   Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil

   Division of the Los Angeles County Superior Court.



       This First Amended General Order supersedes any previous order related to electronic filing,

and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

Supervising Judge and/or Presiding Judge.



DATED: May 3, 2019
                                                     KEVIN C.BRAZ1LE
                                                     Presiding Judge




                                                   7
                  FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                          Superior Court of California, County of Los Angeles


                             ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                    INFORMATION PACKAGE
  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

  CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action with the
  cross-coMplaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   • No Public Trial: ADR does not provide a public trial or decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.

                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.




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                           How to Arrange Mediation in Los Angeles County

 Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

     a. The Civil Mediation Vendor Resource List
        If all parties in an active civil case agree to mediation, they may contact these organizations to
        request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
        cases).

         •  ADR Services, Inc. Assistant Case Manager Janet Solis, janet@adrservices.com
           (213)683-1600
         • Mediation Center of Los Angeles Program Manager info@mediationLA.org
           (833)476-9145

         These organizations cannot accept every case and they may decline cases at their discretion.
         They may offer online mediation by video conference for cases they accept. Before contacting
         these organizations, review important information and FAQs at www.lacourt.org/ADR.Res.List

         NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
         or small claims cases.

     b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
        mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
        harassment, and limited civil (collections and non-collection) cases.
        https://dcba.lacounty.gov/countywidedrp/

         Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
         should carefully review the Notice and other information they may receive about(ODR)
         requirements for their case. https://mv.lacourt.org/odr/

     c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

 3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
    arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
    decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a trial
    after the arbitrator's decision. For more information about arbitration, visit
    https://www.courts.ca.gov/programs-adr.htm

 4. Mandatory Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close
    to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
    settlement officer who does not make a decision but who instead assists the parties in evaluating
    the strengths and weaknesses of the case and in negotiating a settlement. For information about
    the Court's MSC programs for civil cases, visit https://www.lacourt.orgidivisionicivil/C10047.aspx

 Los Angeles Superior Court ADR website: https://www.lacourt.org/division/civil/C10109.aspx
 For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



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                                VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                   The Early Organizational Meeting Stipulation, Discovery
                                Resolution Stipulation, and Motions in Limine Stipulation are
 Superior Court of California
 County of Los Angeles
                                voluntary stipulations entered into by the parties. The parties
                                may enter into one, two, or all three of the stipulations;
                                however, they may not alter the stipulations as written,
  LACBA                         because the Court wants to ensure uniformity of application.
 Los Angeles County
 Bar Association                These stipulations are meant to encourage cooperation
 Litigation Section

 Los Angeles County
                                between the parties and to assist in resolving issues in a
 Bar Association Labor and
 Employment Law Section         manner that promotes economic case resolution and judicial
                                efficiency.
  111
    n       :•,•        ,
                                   The following      organizations endorse the goal of
 Consumer Attorneys
 Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                                consider using these stipulations as a voluntary way to
                                promote communications and procedures among counsel
                                and with the court to fairly resolve issues in their cases.

                                *Los Angeles County Bar Association Litigation Section*
 Southern California
 Defense Counsel

                                         •Los Angeles County Bar Association
                   1.trIM
                                              Labor and Employment Law Section+
           Of.N.N.I


 Association of
 Business Trial Lawyers
                                   *Consumer Attorneys Association of Los Angeles•


               84>                       *Southern California Defense Counsel*

                   1)
                   1
                                        *Association of Business Trial Lawyers*
 California Employment
 Lawyers Association
                                     *California Employment Lawyers Association*


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    LASC Approved 4-11
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                        Reserved for Oadt's Fa. Stamp




         TELEPHONE NO :                                   FAX NO.(Optional)*
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:

                                                                                                      CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");
             C. Exchange of names and contact Information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
       LACIV 229(Rev 02/15)
       LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
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 SHORT TULE:                                                                      CASE NUMBER




               discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
         www.Mcourtorq under "Civil' and then under "General Information").

 2.            The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                             for the cross-
                        (INSERT DATE)                                       (INSERT DATE)

               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourtorri under "Civil',
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

 3.            The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case, The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.
 4.            References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

 The following parties stipulate:
 Date:

                 (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
 Date:

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:

                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR                          )
 Date:

                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR                          )
 Date:

                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR                          )

 LACIV 229(Rev 02/15)
 LASC Approved 04/11          STIPULATION — EARLY ORGANIZATIONAL MEETING                                Page 2 of 2
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                      Reserved tor Perk's Pk SINN,




          TELEPHONE NO.:                                   FAX NO.(Optional):
 E-MAIL ADDRESS(Optional):
    ATTORNEY FOR(Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS


PLAINTIFF:

DEFENDANT:

                                                                                                     CASE rSOMBER.
                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and Informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      I.      File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for Informal Discovery
                             Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036(new)
      LASC Approved 04/11                      STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                            Page 1 of 3
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                                                  ID #:65

  SHORT TITLE:                                                                   CASE NUMBER:




                 iii.   Be filed within two (2) court days of receipt of the Request; and

                 iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                        method of service that ensures that the opposing party receives the Answer no
                        later than the next court day following the filing.

        c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
           be accepted.

        d. If the Court has not granted or denied the Request for Informal Discovery Conference
           within ten (10) days following the filing of the Request, then it shall be deemed to have
           been denied. If the Court acts on the Request, the parties will be notified whether the
           Request for Informal Discovery Conference has been granted or denied and, if granted,
           the date and time of the Informal Discovery Conference, which must be within twenty (20)
           days of the filing of the Request for Informal Discovery Conference.

        e, If the conference is not held within twenty (20) days of the filing of the Request for
           Informal Discovery Conference, unless extended by agreement of the parties and the
           Court, then the Request for the Informal Discovery Conference shall be deemed to have
           been denied at that time.

  4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
     without the Court having acted or (c) the Informal Discovery Conference is concluded without
     resolving the dispute, then a party may file a discovery motion to address unresolved issues.

  5. The parties hereby further agree that the time for making a motion to compel or other
     discovery motion is tolled from the date of filing of the Request for Informal Discovery
     Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
     filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
     by Order of the Court.

        It is the understanding and intent of the parties that this stipulation shall, for each discovery
        dispute to which it applies, constitute a writing memorializing a "specific later date to which
        the propounding [or demanding or requesting] party and the responding party have agreed in
        writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
        2033.290(c).

  6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
     an order shortening time for a motion to be heard concerning discovery.

  7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
     terminate the stipulation.

  8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
     any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
     for performing that act shall be extended to the next Court day.



  LACIV 036(new)
  LASC Approved 04/11              STIPULATION — DISCOVERY RESOLUTION
  For Optional Use                                                                                Page 2 of 3
Case 2:23-cv-06284-JFW-MAR              Document 1-2   Filed 08/02/23       Page 47 of 107 Page
                                             ID #:66

  SNORT TOLE                                                            CASE NUMBER:




  The following parties stipulate:

  Date:
                 (TYPE OR PRINT NAME)                               (ATTORNEY FOR PLAINTIFF)
  Date:
                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
  Date:
                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
  Date:
                 (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
  Date:
                 (TYPE OR PRINT NAME)                       (ATTORNEY FOR
  Date:
                 (TYPE OR PRINT NAME)                       (ATTORNEY FOR
  Date:
                 (TYPE OR PRINT NAME)                       (ATTORNEY FOR




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  LACIV 038(new)
  .ASC
  I     Approved 04/11          STIPULATION — DISCOVERY RESOLUTION
  For Optional Use                                                                             Page 3 of 3
  Case 2:23-cv-06284-JFW-MAR                              Document 1-2              Filed 08/02/23    Page 48 of 107 Page
                                                               ID #:67



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                       Reserved tor Clot% Fie Stamp




          TELEPHONE NO::                                  FAX NO,(Optional):
 E-MAIL ADDRESS (Optional);
    ATTORNEY FOR (Name)
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSEADDRESSL


PLAINTIFF:


DEFENDANT:-


                                                                                                     CASE NUMBER:
                    INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
            ID      Request for Informal Discovery Conference
            El      Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                    (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference:                                              (Insert date 20 calendar
             days following filing of the Request).

      4. For a Request for informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discenieey, Including the facts and legal arguments at issue.




        LAC1V 094(new)
        LASC Approved 04/11                    INFORMAL DISCOVERY CONFERENCE
       •Fo(O
           . OtiOnii USe.                (pursuant to the Discovery Resolution Stipulation of the parties)
               irP—
                 nt„.           I               .`1                                                                                Clear
  Case 2:23-cv-06284-JFW-MAR                              Document 1-2                Filed 08/02/23    Page 49 of 107 Page
                                                               ID #:68


                                                                     -
NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                  STATE OAR NUMBER                       Removed fa Clea's Fie Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS(Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS'

PLAINTIFF:

DEFENDANT:

                                                                                                       CASE NUMBER:
              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is Intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such Issues and limit paperwork.


      The parties agree that:

       1. At least       days before the final status conference, each party will provide all other
          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation must identify the substance of a single proposed
          motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

       3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          R ules of Court and the Los Angeles Superior Court Rules.



       LAM/075(new)
      !ASO Approved 04/11               STIPULATION AND ORDER — MOTIONS IN LIMINE
       For Optional Use                                                                                                             Page 1 of 2
Case 2:23-cv-06284-JFW-MAR                 Document 1-2   Filed 08/02/23      Page 50 of 107 Page
                                                ID #:69

 SHORT 11TLE:                                                          CASE- NUMBER:




 The following parties stipulate:

  Date;

                (TYPE OR PRINT NAME)                               (ATTORNEY FOR PLAINTIFF)
     ;
  Date.

                (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
  Date:

                (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
  Date:,

                .(TYPE,QR PRINT-, NAME)'                          (ATTORNEY FOR DEFENDANT)
  Date:

                (TYPE OR PRINT NAME)                          (ATTORNEY FOR
  Date:

                (TYPE OR PRINT NAME)                          (ATTORNEY FOR
  Date:

                (TYPE OR PRINT NAME)                          (ATTORNEY FOR



  THE'66
       .Ukt SO ORDERS

   Date:
                                                                           JUDICIAL OFFICER




      ,Print            L.Save                                                                Clear

  LACIV 075(new)
  LASC Approved 04/11       STIPULATION AND ORDER — MOTIONS IN LIMINE                         Page 2 of 2
Case 2:23-cv-06284-JFW-MAR             Document 1-2       Filed 08/02/23       Page 51 of 107 Page
                                            ID #:70




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                                                                      FILED
                                                                  LOS ANGELES SUPERIOR COURT

3                                                                          MAY 1 1 2011
4                                                                     JOHN A
                                                                             CLAFIKE,AgRK
                                                                                124W
                                                                    BY NA Tc   AVARRO,DEPUTY
5

6

7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
8                            FOR THE COUNTY OF LOS ANGELES
9
     General Order Re                          )    ORDER PURSUANT TO CCP 1054(a),
10
     Use of Voluntary Efficient Litigation     )    EXTENDING TIME TO RESPOND BY
11   Stipulations                              )    30 DAYS WHEN PARTIES AGREE
                                               )    TO EARLY ORGANIZATIONAL
12                                             )    MEETING STIPULATION
13

14
            Whereas the Los Angeles Superior Court and the Executive Committee of the
15
     Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
     drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18   use in general jurisdiction civil litigation In Los Angeles County;
19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
     Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
     Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23   Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24   Employment Lawyers Association all "endorse the goal of promoting efficiency In
25
     litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
     promote communications and procedures among counsel and with the court to fairly
27
     resolve issues in their cases;"
28

                                                  -1-

                                ORDER PURSUANT TO CCP 1054(a)
Case 2:23-cv-06284-JFW-MAR            Document 1-2      Filed 08/02/23     Page 52 of 107 Page
                                           ID #:71




            Whereas the Early Organizational Meeting Stipulation is intended to encourage
 1

2    cooperation among the parties at an early stage In litigation In order to achieve

3    litigation efficiencies;
4
            Whereas it is intended that use of the Early Organizational Meeting Stipulation
5
     will promote economic case resolution and judicial efficiency;
6

7
            Whereas, in order to promote a meaningful discussion of pleading issues at the

8    Early Organizational Meeting and potentially to reduce the need for motions to
9    challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
     Organizational Meeting before the time to respond to a complaint or cross complaint
11
     has expired;
12

13          Whereas Code of Civil Procedure section 1054(a) allows a judge of the court In

14   which an action is pending to extend for not more than 30 days the time to respond to
15
     a pleading "upon good cause shown";
16
            Now, therefore, this Court hereby finds that there Is good cause to extend for 30
17
     days the time to respond to a complaint or to a cross complaint In any action in which
18

19   the parties have entered Into the Early Organizational Meeting Stipulation. This finding
20   of good cause is based on the anticipated judicial efficiency and benefits of economic
21
     case resolution that the Early Organizational Meeting Stipulation is intended to
22
     promote.
23

24
            IT IS HEREBY ORDERED that, in any case in which the parties have entered

25   into an Early Organizational Meeting Stipulation, the time for a defending party to
26   respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                -2-

                                ORDER PURSUANT TO CCP 1054(a)
Case 2:23-cv-06284-JFW-MAR           Document 1-2       Filed 08/02/23     Page 53 of 107 Page
                                          ID #:72




      by Code of Civil Procedure section 1054(a) without further need of a specific court

 2    order.

 5

 4
 5
      DATED:                                                     MS
                                               Carolyn B. Kuh Supervising Judge of the
 6
                                               Civil Departments, Los Angeles Superior Court

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                               ORDER PURSUANT TO CC? 1054(a)
Case 2:23-cv-06284-JFW-MAR   Document 1-2   Filed 08/02/23   Page 54 of 107 Page
                                  ID #:73




                             EXHIBIT B
       Case 2:23-cv-06284-JFW-MAR   Document 1-2                         Filed 08/02/23          Page 55 of 107 Page
                                          ID #:74                                                Reserved tor Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                      FILED. .
 Stanley Mosk Courthouse                                                                         Sup r Gland of CO
                                                                                                  CountyofLOA41gOlS
 1 11 North Hill Street, Los Angeles, CA 90012
                                                                                                       06/09/2023
                   NOTICE OF CASE ASSIGNMENT                                            onaw..sky.ecetetoveaticiiiiCteaftdiCiatal
                                                                                                         Y.Tairaquit           0E,puly
                                                                                           BY:
                         UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 23STCV13324

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                   ASSIGNED JUDGE                      DEPT          ROOM
   V     Curtis A. Kin                      72




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
    on 06/12/2023                                                        B y Y. Tarasyuk                                       ,Deputy Clerk
                (Date)

LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
       Case 2:23-cv-06284-JFW-MAR                     Document 1-2            Filed 08/02/23          Page 56 of 107 Page
                                                           ID #:75
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)          NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:23-cv-06284-JFW-MAR   Document 1-2   Filed 08/02/23   Page 57 of 107 Page
                                  ID #:76




                             EXHIBIT C
       Case 2:23-cv-06284-JFW-MAR                   Document 1-2            Filed 08/02/23             Page 58 of 107 Page
                                                         ID #:77                                        Reservect for Clerk's Fite Stamp
               SUPERIOR COURT OF CALIFORNIA
                 !couNTy
                  ..._ _ OF LOS
                            .   ANGELES                                                                            FILED
                                                                                                       Superior C.ourt of California
  cOuRTHOUSE ADDRESS:
                                                                                                         Countyof Los Anyekis
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012                                                                 06123(2023
  PLAINTIFF:                                                                                    Eavdii, Sitroi,t". xstr.r.' A:O'',.r:C IstofCoil
  Catarina Cortez                                                                                                   Rod/ quer          Defi4iy
  DEFENDANT:
  Target Corporation, et al.                                                                                          .
                                                                                            CASE NUMBER:
               . NOTICE
                 . _.. .,OF CASE MANAGEMENTI.CONFERENCE,:  %                                    23STCV13324
 TO THE PLAINTIFF(S)/ATTORNEY(S)FOR PLAINTIFF(S)OF RECORD:

 You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
 parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
 Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                      Date:                     Time:                  Dept.:
                                     ,        11/01/2023             9:30 AM                    72

 NOTICE TO DEFENDANT; THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                        DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

 Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form 4
 CM-110) must be filed at least 15 calendar days prior to the Case Management Conference, The Case Management Statement
 may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
 case and be fully prepared to participate effectively in the Case Management Conference.

 At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
 establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
 case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
 Reduction Act(Gov. Code,§ 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant .,,t0'.4i.ASC,Nt..ocal Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Cod              84008,    vision (b), and gplifoZules of
Court, rule 2.2 et seq.                                                           el
                                                                                                                             oor.
  rt
 Dated:   06/23/2023                                                                            Curtis A Kin/Judge
                                                                                                 Judicial Officer

                                                     CERTIFICATE OF SERVICE

 I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
 herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

.21 by depositing in the United States mail at the courthouse in Los Angeles               , California, one copy of the original
    filed herein In a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

     by personally giving the party notice upon filing of the complaint.
      John W. Dalton
      990 Highland Drive
      Suite 102
      Solana Beach, CA 92075                                               David W. Slayton, Executive Officer! Clerk of Court


 Dated; 06/23/2023                                                                                     By M. Rodriguez
                                                                                                                          _Deputy Clerk
 LACIV 132(Rev. 07/13)                                                                                          Cal. Rules of Court, rules 3.720-3.730
 LASC Approved 10-03
                                              NOTICE OF                                                         LASC Local Rules, Chapter Three
 For OpIlona! Use               . 0,/ktE MANAGEMENT CONFERENCE
Case 2:23-cv-06284-JFW-MAR   Document 1-2   Filed 08/02/23   Page 59 of 107 Page
                                  ID #:78




                             EXHIBIT D
                    Case 2:23-cv-06284-JFW-MAR                       Document 1-2   Filed 08/02/23        Page 60 of 107 Page
                                                                          ID #:79                                                               POS-010
     ATTORNEY OR PARTY IN I TH OUT ATTORNEY (Name, State Bsr number, end address)                                   FOR COURT USE ONLY
          John Dalton, 183685
          Law Offices of John W. Dalton
          990 Highland Drive, Suite 102
          Solana Beach, CA 92075
              TCLEPHoNE Non (858) 720-8422
                  ATTORNEY FOR (Name).

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF
     Superior Court of California, Los Angeles CountV
     111 N. Hill Street
     Los Angeles, CA 90012-3117
                  PLAINTIFF/PETITIQNER: Catarina Cortez                                              CASE NUMBER.


 DEFENDANT/REsPQNDENT: Target Corporation, et al.
                                                                                                    23STCV13324
                                                                                                    Ref No.orFileNo:
                                           PROOF OF SERVICE OF SUMMONS                               Cortez
 1. At the time of service I was a citizen of the United States, at least 18 years of age and not a party to this action.
2.        I       served copies of:
 Summons, Complaint for Damages, Civil Case Cover Sheet, Civil Case Cover Sheet Addendum Notice of Case Assignment, First
 Amended General Order, Alternative Dispute Resolution (ADR) Information Package, Voluntary Efficient Litigation Stipulations, Order
 Pursuant to CCP 1054(a), Notice of Case Management Conference

3. a. Party served:                 Target Corporation, A California Corporation
          b Person Served CT Corporation System - Diana Ruiz, Process Specialist - Person Authorized to Accept Service of Process

4. Address where the party was served. 330 North Brand Blvd, ¹700
5.  served the party
      I
                                                          Glendale, CA 9(203
    a by personal service. personally delivered the documents listed in item 2 to the party or person authorized to
                                              I


       receive service of process for the party (1) on (date): P7/P3/2023             (2) at (time): 12 32PM
6. The "Notice to the Person Served" (on the summons) was completed as follows:




                  d. on behalf of:

           Target Corporation, A California Corporation
           under: CCP 4(6.10 (corporation)
7.        Person who served papers
          a. Name:                       Martha G. Mauricio
          b. Address:                    One Legal - P-000618-Sonoma
                                         1400 North McDowell Blvd, Ste 300
                                         Petaluma, CA 94954
     c. Telephone number: 415-491-0606
     d. The fee for service was: $ 40.00
     e am:    I

                   (3) reoistered California process server.
                          (i) Employee or independent contractor.
                          (ii) Registration Noz 2023117509
                          (iii) County: Los Angeles
8. declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
      I


Date:                07/03/2023


                             Martha G. Mauricio
                              (NAME OF PERSON WHO SERVED PAPERS)                                          (SIGNATURE)
  Form Adopted for Mandatory Use                                                                                            Code of Civil Procedure, !I 4 f 7 10
Judoist Counol of Caltornia POS-D10
        IRev Jan 1,2007)                                       PROOF OF SERVICE OF SUMMONS
                                                                                                               OL¹ 20715571
Case 2:23-cv-06284-JFW-MAR                      Document 1-2             Filed 08/02/23          Page 61 of 107 Page
                                                     ID #:80                                                CT Corporation
                                                                                             Service of Process Notification
                                                                                                                     07/03/2023
                                                                                                        CT Log Number 544205042


    Service of Process Transmittal Summary

    TO:       EMPLOYEE RELATIONS
              Target Corporation
              1000 NICOLLET MALL, MS: CC-1810
              MINNEAPOLIS, MN 55403-2542

    RE:       Process Served in California

    FOR:      Target Corporation (Domestic State: MN)


    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                         Re: CATARINA CORTEZ // To: Target Corporation

    CASE #:                                  23STCV13324

    NATURE OF ACTION:                        Employee Litigation - Discrimination

    PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

    DATE/METHOD OF SERVICE:                  By Process Server on 07/03/2023 at 13:02

    JURISDICTION SERVED:                     California

    ACTION ITEMS:                            CT has retained the current log, Retain Date: 07/03/2023, Expected Purge Date:
                                             07/08/2023

                                             Image SOP

                                             Email Notification, EMPLOYEE RELATIONS ct.service@target.com

    REGISTERED AGENT CONTACT:                C T Corporation System
                                             330 N BRAND BLVD
                                             STE 700
                                             GLENDALE, CA 91203
                                             877-564-7529
                                             MajorAccountTeam2@wolterskluwer.com



    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
    and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
    information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
    included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
    disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
    contained therein.




                                                                                                                          Page 1 of 1
  Case 2:23-cv-06284-JFW-MAR   Document 1-2      Filed 08/02/23   Page 62 of 107 Page
                                    ID #:81


                                                              tO. Wolters Kluwer

                      PROCESS SERVER DELIVERY DETAILS



Date:                                Mon, Jul 3, 2023
Server Name:                         Jimmy Lizama.




 Entity Served          TARGET CORPORATION

 Case Number             235TCV13324
 J urisdiction           CA



                                       Inserts
            Case 2:23-cv-06284-JFW-MAR                             Document 1-2                 Filed 08/02/23                 Page 63 of 107 Page
                                                                        ID #:82
                                                                                                                                                                     POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                               FOR COURT USE ONLY
 Law Offices of John W. Dalton
 John Dalton SBN 183685
 990 Highland Drive Suite 102
 Solana Beach, CA 92075
              TELEPHONE NO:                                      FAX NO (Optional):
 E-MAIL ADDRESS (Optional):  jdaltonlaw@gmail.com
        ATTORNEY FOR (Name): Plaintiff

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF             Los Angeles
      STREET ADDRESS:    111 N. Hill Street
     MAILING ADDRESS:
 CITY AND ZIP CODE:      Los Angeles, 90012-3117
        BRANCH NAME:     Central District
        PLAINTIFF / PETITIONER:   Catarina Cortez                                                                       CASE NUMBER:
 DEFENDANT / RESPONDENT:          Target Corporation, et al.                                                            23STCV13324

                                                                                                                        Ref. No. or File No.:
                                    PROOF OF SERVICE OF SUMMONS                                                         9216101 (20828516)
                                                       (Separate proof of service is required for each party served.)
1.     At the time of service I was at least 18 years of age and not a party to this action.
2.     I served copies of:
       a.    X    Summons
       b.    X    Complaint
       c.    X    Alternative Dispute Resolution (ADR) Package
       d.    X    Civil Case Cover Sheet (served in complex cases only)
       e.         Cross-Complaint
       f.    X    Other (specify documents):    Civil Case Cover Sheet Addendum and Statement of Location, Notice of Case Assignment - Unlimited Civil Case,
                                                First Amended General Order, Voluntary Efficient Litigation Stipulations, Stipulation - Early Organizational
                                                Meeting (Blank), Stipulation - Discovery Resolution (Blank), Informal Discovery Conference (Blank), Stipulation
                                                and Order - Motions in Limine (Blank), Order Pursuant to CCP 1054(a), Notice of Case Management Conference
3.     a.   Party served (specify name of party as shown on documents served):
            Kamber Taylor, an individual
       b.          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item 5b on whom
                   substituted service was made) (specify name and relationship to the party named in item 3a):

4.     Address where the party was served:
       9910 Valerio Ct, Bakersfield, CA 93312
5.     I served the party (check proper box)
       a.    X    by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                  receive service of process for the party (1) on (date): Sat, Jul 29 2023                          (2) at (time): 05:14 PM
       b.         by substituted service. On (date):                                      at (time):                                     I left the documents listed in
                  item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                  (1)          (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person to be
                               served. I informed him or her of the general nature of the papers.
                  (2)          (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of the
                               party. I informed him or her of the general nature of the papers.
                  (3)          (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the person
                               to be served, other than a United States Postal Service post office box. I informed him or her of the general nature of the
                               papers.
                  (4)          I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                               where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on (date):
                               from (city):                                                                          or                a declaration of mailing is attached.
                  (5)          I attach a declaration of diligence stating actions taken first to attempt personal service.




Form Adopted for Mandatory Use                                     PROOF OF SERVICE OF SUMMONS                                                                       Page 1 of 2
Judicial Council of California                                                                                                                  Code of Civil Procedure, § 417.10
POS-010 [Rev. January 1, 2007]
           Case 2:23-cv-06284-JFW-MAR                           Document 1-2               Filed 08/02/23             Page 64 of 107 Page
                                                                     ID #:83
       PLAINTIFF / PETITIONER:   Catarina Cortez                                                               CASE NUMBER:
 DEFENDANT / RESPONDENT:         Target Corporation, et al.                                                    23STCV13324


5.   c.          by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address shown in item 4, by
                 first-class mail, postage prepaid,
                 (1) on (date):                                               (2) from (city):
                 (3)          with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me. (Attach
                              completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                 (4)          to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.          by other means (specify means of service and authorizing code section):
6.   The "Notice to the Person Served" (on the summons) was completed as follows:
     a.   X    as an individual defendant.
     b.          as the person sued under the fictitious name of (specify):
     c.          as occupant.
     d.          On behalf of (specify):
                 under the following Code of Civil Procedure section:
                       416.10 (corporation)                                                   415.95 (business organization, form unknown)
                        416.20 (defunct corporation)                                          416.60 (minor)
                        416.30 (joint stock company/association)                              416.70 (ward or conservatee)
                        416.40 (association or partnership)                                   416.90 (authorized person)
                        416.50 (public entity)                                                415.46 (occupant)
                        other:
7.   Person who served papers
     a. Name:                      Raquel Quarnstrom
     b. Address:                   1400 N. McDowell Blvd., Suite 300 Petaluma, CA 94947
     c. Telephone number:          800.938.8815
     d. The fee for service was: $85.00
     e. I am:
         (1)        not a registered California process server.
           (2)        exempt from registration under Business and Professions Code section 22350(b).
           (3)   X    a registered California process server:
                       (i)       owner         employee     X independent contractor
                       (ii) Registration No: 685
                       (iii) County: Kern
8.     X     I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
             or
9.           I am a California sheriff or marshal and I certify that the foregoing is true and correct.



Date:7/31/23
Raquel Quarnstrom
     (NAME OF PERSON WHO SERVED PAPERS / SHERIFF OR MARSHAL)

InfoTrack USA- P000618
1400 N McDowell Blvd Suite 300
Petaluma, CA 94947
800-938-8815                                                                                                        (SIGNATURE)




POS-010 [Rev. January 1, 2007]                                  PROOF OF SERVICE OF SUMMONS                                                      Page 2 of 2
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                                  ID #:84




                             EXHIBIT E
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                                                  ID #:85
                                                                                 R e se r ved f or C ler k ’ s F i le S tam p
          SUPERIOR COURT OF CALIFORNIA
             COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF(S):

Catarina Cortez
DEFENDANT(S):

Target Corporation, et al.
                                                                              CASE NUMBER:
                         ORDER TO SHOW CAUSE HEARING
                                                                              23STCV13324

To the party / attorney of record:
You are ordered to appear for an Order to Show Cause Hearing on __________     ________
                                                                 08/14/2023 at 8:30 AM in
          72
department____of             Stanley Mosk Courthouse
                 this court, ____________________________________________________________,
and show cause why sanctions should not be imposed for:
[✔]      Failure to file proof of service.

Failure to comply or appear may result in sanctions pursuant to one or more of the following: California
Rules of Court, rule 2.30 and rule 3.1340; Code of Civil Procedure sections 177.5, 575.2, 583.150,
583.310, 583.360, 583.410, 583.420, 583.430; and Government Code section 68608.

[✔]      To avoid a mandatory appearance all required documents must be filed at least 5 days prior to the
         date of the hearing.




          06/23/2023
Dated: _______________                              ____________________________________________
                                                                      Judicial Officer




                                         ORDER TO SHOW CAUSE HEARING
LACIV 166 (Rev. 09/08)                                                                    Cal. Rules of Court, rule 2.30
LASC Approved 06-04                                                                       LASC Local Rules, Chapter 7
  Case 2:23-cv-06284-JFW-MAR             Document 1-2       Filed 08/02/23      Page 67 of 107 Page
                                              ID #:86
                                                                                 Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Catarina Cortez
DEFENDANT/RESPONDENT:
Target Corporation, et al.

                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             23STCV13324

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Order to Show Cause Failure to File Proof of
Service upon each party or counsel named below by placing the document for collection and mailing so as
to cause it to be deposited in the United States mail at the courthouse in Los Angeles, California, one copy
of the original filed/entered herein in a separate sealed envelope to each address as shown below with the
postage thereon fully prepaid, in accordance with standard court practices.




    John W. Dalton
    Law Offices of John W. Dalton
    990 Highland Drive
    Suite 102
    Solana Beach, CA 92075




                                                    David W. Slayton, Executive Officer / Clerk of Court
Dated: 06/23/2023                                    By:   M. Rodriguez
                                                           Deputy Clerk




                                     CERTIFICATE OF MAILING
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                             EXHIBIT F
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                                                 1    MARIA C. RODRIGUEZ (SBN 194201)
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                                                 2    MARJORIE C. SOTO (SBN 313290)
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                                                 3
                                                      MADELINE HASSELL (SBN 347161)
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                                                 5    2049 Century Park East
                                                      Suite 3200
                                                 6    Los Angeles, CA 90067-3218
                                                      Telephone:    +1 310 788 4126
                                                 7
                                                      Facsimile:    +1 310 277 7390
                                                 8
                                                      Attorneys for Defendant,
                                                 9    TARGET CORPORATION

                                                10
                                                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                11
MCDERMOTT WILL & EMERY LLP




                                                                                  COUNTY OF LOS ANGELES
                                                12
                             ATTORNEYS AT LAW




                                                       CATARINA CORTEZ, an individual,      CASE NO. 23STCV13324
                               LOS ANGELES




                                                13
                                                                                            Hon. Curtis A. Kin
                                                                    Plaintiff,              Dept.: 72
                                                14
                                                               v.
                                                15
                                                                                            DEFENDANT TARGET CORPORATION’S
                                                16     TARGET CORPORATION, A                ANSWER TO PLAINTIFF’S COMPLAINT
                                                       CALIFORNIA CORPORATION
                                                17     KAMBER TAYLOR, AN
                                                       INDIVIDUAL, and DOES 1
                                                18     through 50, Inclusive;
                                                19                  Defendants.             Complaint Filed: June 9, 2023

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                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                     Case 2:23-cv-06284-JFW-MAR             Document 1-2        Filed 08/02/23      Page 70 of 107 Page
                                                                                                 ID #:89



                                                 1    TO PLAINTIFF AND HER COUNSEL OF RECORD:

                                                 2           Defendant Target Corporation (“Target”) hereby submits its answer to Plaintiff Catarina
                                                 3    Cortez’s (“Plaintiff”) Complaint (the “Complaint”).
                                                 4                                           GENERAL DENIAL
                                                 5           Pursuant to the provisions of the California Code of Civil Procedure Section 431.30(d),
                                                 6    Target denies, generally and specifically, each and every allegation, statement, matter, and
                                                 7    purported cause of action contained in Plaintiff’s Complaint. Without limiting the generality of
                                                 8    the foregoing, Target also denies, generally and specifically, that Plaintiff has been damaged in the
                                                 9    manner or sums alleged, or in any way at all, by reason of any acts or omissions of Target.
                                                10                                       ADDITIONAL DEFENSES
                                                11           In further answer to the Complaint, Target alleges the following additional defenses.
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                                                12    Target reserves its right to amend its Answer to include defenses that are not known to it at this
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                                                13    time. In asserting these defenses, Target does not assume the burden of proof as to matters that,
                                                14    pursuant to law, are Plaintiff’s burden to prove.
                                                15                                   FIRST AFFIRMATIVE DEFENSE
                                                16                               (Failure to Exhaust Administrative Remedies)
                                                17           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred,
                                                18    in whole or in part, because Plaintiff has failed to exhaust her administrative remedies, or to satisfy
                                                19    the procedural and jurisdictional prerequisites, necessary to maintain her purported causes of
                                                20    action, including without limitation those claims asserted under the California Fair Employment
                                                21    and Housing Act (FEHA), Government Code Sections 12940 et seq. Plaintiff is required to, but
                                                22    has failed to, raise an administrative charge with regard to all of the claims raised in her Complaint.
                                                23    A plaintiff must exhaust the administrative remedies available to her before resorting to the courts;
                                                24    this fundamental rule of procedure binds all courts. See, e.g., Abelleira v. Dist. Ct. App., 17 Cal.
                                                25    2d 280, 292-93 (1941). Pursuant to FEHA, a plaintiff must file an administrative charge with the
                                                26    DFEH within one year of any alleged unlawful employment discrimination and receive a right-to-
                                                27    sue letter from the DFEH before she may institute a civil lawsuit against her employer. Morgan
                                                28    v. Regents of Univ. of Cal., 88 Cal. App. 4th 52, 63 (2000); Romano v. Rockwell Int’l, Inc., 14 Cal.


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                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                     Case 2:23-cv-06284-JFW-MAR             Document 1-2         Filed 08/02/23      Page 71 of 107 Page
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                                                 1    4th 479, 492 (1996). The civil lawsuit must be instituted within one year of obtaining the right-

                                                 2    to-sue letter and may not allege broader causes of action than were alleged in the administrative

                                                 3    charge. See Cal. Govt. Code § 12965(b); Yurick v. Super. Ct., 209 Cal. App. 3d 1116, 1121-23

                                                 4    (1989) (in order to exhaust available administrative remedies under the FEHA, a complaining

                                                 5    party must specify the acts that [her] claims violated the FEHA in [her] administrative charge).

                                                 6    “The scope of the administrative charge defines the permissible scope of the subsequent civil

                                                 7    action.” Rodriguez v. Airborne Express, 265 F.3d 890, 896-97 (9th Cir. 2001).

                                                 8                                  SECOND AFFIRMATIVE DEFENSE

                                                 9                                           (Statute of Limitations)

                                                10           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred,

                                                11    in whole or in part, by the applicable statutes of limitations, including but not limited to those set
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                                                12    forth under California Code of Civil Procedure Section 340; California Government Code
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                               LOS ANGELES




                                                13    Sections 12960, 12960(d), 12965(b), and any other applicable statute of limitation.

                                                14                                   THIRD AFFIRMATIVE DEFENSE

                                                15                                                   (Laches)
                                                16           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred
                                                17    by the doctrine of laches because of Plaintiff’s undue delay in giving notice of the matters alleged.
                                                18                                 FOURTH AFFIRMATIVE DEFENSE
                                                19                                             (Lack of Standing)
                                                20           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred
                                                21    because Plaintiff lacks standing to assert the claims or the injuries alleged, and/or has not been
                                                22    injured or lost any money or property as a result of Target’s alleged actions.
                                                23                                   FIFTH AFFIRMATIVE DEFENSE
                                                24                                     (Failure to State a Cause of Action)
                                                25           As to Plaintiff’s Complaint, and each cause of action alleged therein, Plaintiff’s claims are
                                                26    barred because Plaintiff fails to allege facts sufficient to state a cause of action against Target.
                                                27    ///
                                                28    ///


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                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                     Case 2:23-cv-06284-JFW-MAR            Document 1-2         Filed 08/02/23    Page 72 of 107 Page
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                                                 1                                  SIXTH AFFIRMATIVE DEFENSE

                                                 2                                        (Avoidable Consequences)

                                                 3           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s damages are barred

                                                 4    or limited because Target took reasonable steps to provide measures and procedures to prevent

                                                 5    and correct workplace harassment, Plaintiff unreasonably failed to use preventative and corrective

                                                 6    measures and procedures that Target provided, and Plaintiff’s reasonable use of such measures

                                                 7    and procedures would have prevented some or all of Plaintiff’s alleged harm suffered. State Dep’t

                                                 8    of Health Servs. v. Superior Court, 31 Cal. 4th 1026, 1044 (2003).

                                                 9                                SEVENTH AFFIRMATIVE DEFENSE

                                                10                                                 (Waiver)
                                                11           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred
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                                                12    by the doctrine of waiver, as a result of the conduct, representations, and omissions of Plaintiff
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                               LOS ANGELES




                                                13    that, in turn, caused her alleged damages.
                                                14                                 EIGHTH AFFIRMATIVE DEFENSE
                                                15                                                 (Estoppel)
                                                16           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred
                                                17    by the doctrine of equitable estoppel, as a result of the conduct, representations, and omissions of
                                                18    Plaintiff that, in turn, caused her alleged damages.
                                                19                                  NINTH AFFIRMATIVE DEFENSE
                                                20                                             (In Pari Delicto)
                                                21           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred
                                                22    by the doctrine of in pari delicto, as a result of the acts and omissions of Plaintiff that make her
                                                23    equally, if not more, at fault for the alleged damages.
                                                24                                  TENTH AFFIRMATIVE DEFENSE
                                                25                                             (Unclean Hands)
                                                26           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred
                                                27    by the doctrine of unclean hands, as a result of the acts and omissions of Plaintiff that were
                                                28    unethical and, in turn, caused her alleged damages.


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                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
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                                                 1                               ELEVENTH AFFIRMATIVE DEFENSE

                                                 2                                                 (Privilege)

                                                 3           As to Plaintiff’s Complaint, and each cause of action therein, and without admitting that

                                                 4    Target engaged in the conduct alleged in this lawsuit, Target contends that its conduct was at all

                                                 5    times justified, privileged, and undertaken in good faith and without any intent to injure Plaintiff.

                                                 6                                TWELFTH AFFIRMATIVE DEFENSE

                                                 7                                 (Unauthorized Actions of Third Parties)

                                                 8           As to Plaintiff’s Complaint, and each cause of action therein, without admitting that any

                                                 9    agent or employee of Target engaged in such conduct, if any agent or employee of Target engaged

                                                10    in any alleged conduct that can be construed as tortious or otherwise illegal conduct, unlawful

                                                11    discrimination, failure to engage in the interactive process, and/or failure to accommodate, such
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                                                12    conduct was unauthorized and outside the scope of such individual’s agency or employment.
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                                                13                             THIRTEENTH AFFIRMATIVE DEFENSE

                                                14                                     (Reasonableness and Good Faith)
                                                15           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff cannot recover
                                                16    punitive damages, because Target cannot be vicariously liable for any discriminatory employment
                                                17    decisions that were contrary to Target’s good faith efforts to comply with laws prohibiting
                                                18    employment discrimination.
                                                19                             FOURTEENTH AFFIRMATIVE DEFENSE
                                                20                                                  (Offset)
                                                21           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought
                                                22    thereunder, Target is entitled to an offset under the doctrine prohibiting double recovery of
                                                23    economic damages, including with respect to California Civil Code Sections 1431 et seq., and to
                                                24    the extent that Plaintiff received offsetting funds by other means, including without limitation
                                                25    through insurance or benefits and/or workers’ compensation.
                                                26    ///
                                                27    ///
                                                28    ///


                                                                                           -4-
                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
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                                                 1                              FIFTEENTH AFFIRMATIVE DEFENSE

                                                 2                                       (After-Acquired Evidence)

                                                 3           Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

                                                 4    barred by the doctrine of after-acquired evidence.

                                                 5                              SIXTEENTH AFFIRMATIVE DEFENSE

                                                 6                                               (Mitigation)

                                                 7           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred

                                                 8    on the ground that by exercise of reasonable efforts, Plaintiff could have mitigated the amount of

                                                 9    damages she allegedly suffered, but Plaintiff failed and/or refused, and continues to fail and/or

                                                10    refuse, to exercise reasonable efforts to mitigate her damages.

                                                11                            SEVENTEENTH AFFIRMATIVE DEFENSE
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                                                12                                            (Undue Hardship)
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                                                13           As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred
                                                14    on the ground that any decisions made by Target with respect to Plaintiff’s employment were non-
                                                15    discriminatory, and were reasonably based on legitimate business concerns and/or preventing
                                                16    undue hardship.
                                                17                             EIGHTEENTH AFFIRMATIVE DEFENSE
                                                18                                           (Unjust Enrichment)
                                                19           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought
                                                20    thereunder, the damages that Plaintiff seeks are barred because an award to Plaintiff would
                                                21    constitute unjust enrichment.
                                                22                             NINETEENTH AFFIRMATIVE DEFENSE
                                                23                                              (Preemption)
                                                24           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought
                                                25    thereunder, insofar as Plaintiff seeks recovery for alleged physical and/or emotional injury based
                                                26    on conduct by Target that neither contravenes fundamental California public policy nor exceeds
                                                27    the risks inherent in the employment relationship, such recovery is barred by Labor Code
                                                28    Sections 3601 and 3602, which provide that the exclusive remedy for these alleged injuries is an


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                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                     Case 2:23-cv-06284-JFW-MAR             Document 1-2        Filed 08/02/23      Page 75 of 107 Page
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                                                 1    action or a claim under the Workers Compensation Act.

                                                 2                               TWENTIETH AFFIRMATIVE DEFENSE

                                                 3                                 (Constitutional Bar of Punitive Damages)

                                                 4           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought

                                                 5    thereunder, Plaintiff’s request for punitive damages in her Complaint violates the rights of Target

                                                 6    to procedural and substantive due process under the Fifth, Eighth, and Fourteenth Amendment of

                                                 7    the United States Constitution and under the Constitution of the State of California.

                                                 8                             TWENTY-FIRST AFFIRMATIVE DEFENSE

                                                 9                                    (Statutory Bar of Punitive Damages)

                                                10           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought

                                                11    thereunder, Plaintiff fails to and cannot allege facts sufficient to allow recovery of punitive or
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                                                12    exemplary damages from Target under Civil Code Section 3294, including that Target’s alleged
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                                                13    wrongful conduct for which damages are sought were not oppressive, fraudulent, or malicious,

                                                14    and/or Target had no knowledge or conscious disregard and did not authorize or ratify any act of

                                                15    oppression, fraud, or malice by any officer, director, or managing agent of Target.

                                                16                            TWENTY-SECOND AFFIRMATIVE DEFENSE

                                                17                                   (Worker’s Compensation Exclusivity)
                                                18           Any claims by Plaintiff based in whole or in part upon any alleged physical or emotional
                                                19    injury or distress are barred because Plaintiff’s sole and exclusive remedy, if any, for such injuries,
                                                20    is governed by the California Workers’ Compensation Act pursuant to California Labor Code
                                                21    sections 3600 et seq.
                                                22                            TWENTY-THIRD AFFIRMATIVE DEFENSE
                                                23                                 (Legitimate Non-Discriminatory Actions)
                                                24           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought
                                                25    thereunder, Plaintiff’s claims are barred, in whole or in part, because all of Target’s actions toward
                                                26    Plaintiff were taken for legitimate, non-discriminatory and non-retaliatory reasons.
                                                27    ///
                                                28    ///


                                                                                           -6-
                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
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                                                 1                           TWENTY-FOURTH AFFIRMATIVE DEFENSE

                                                 2                               (Conduct not Knowing, Willful or Intentional)

                                                 3            As to Plaintiff’s Complaint, each cause of action therein, and the damages sought

                                                 4    thereunder, Plaintiff’s claims are barred in whole in or part because Target’s conduct as alleged in

                                                 5    the Complaint was not knowing, willful or intentional.

                                                 6                             TWENTY-FIFTH AFFIRMATIVE DEFENSE

                                                 7                           (Lack Of Care And Diligence In Performing Services)

                                                 8            As to Plaintiff’s Complaint, each cause of action therein, and the damages sought

                                                 9    thereunder, are barred to the extent that Plaintiff did not exercise the level of care and diligence

                                                10    required when performing her duties or in complying with Target’s policies and procedures,

                                                11    pursuant to California Labor Code Sections 2850, 2854, and 2857.
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                                                12                             TWENTY-SIXTH AFFIRMATIVE DEFENSE
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                                                13                                              (Proximate Cause)
                                                14            As to Plaintiff’s Complaint, and each cause of action therein, even if the injuries and/or
                                                15    damages alleged occurred, such injuries were proximately caused by and/or were contributed to
                                                16    by Plaintiff’s own acts or failure to act, including without limitation Plaintiff’s failure to raise any
                                                17    complaint to Target’s human resources department.
                                                18                          TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                                                19                                       (Reasonable Accommodation)
                                                20            Plaintiff’s disability discrimination claims are barred to the extent she was provided a
                                                21    reasonable accommodation for her disability, if any.
                                                22                           TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                                                23                                                    (Truth)
                                                24            As to Plaintiff’s Complaint, and each cause of action therein, Plaintiff’s claims are barred
                                                25    on the ground that any oral or written statements made by Target were based in truth.
                                                26    ///
                                                27    ///
                                                28    ///


                                                                                           -7-
                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                     Case 2:23-cv-06284-JFW-MAR             Document 1-2          Filed 08/02/23     Page 77 of 107 Page
                                                                                                 ID #:96



                                                 1                            TWENTY-NINTH AFFIRMATIVE DEFENSE

                                                 2                                  (Unable to Perform Essential Functions)

                                                 3           Plaintiff’s disability discrimination claims are barred to the extent she was unable to

                                                 4    perform the essential functions of her position, with or without reasonable accommodation.

                                                 5                               THIRTIETH AFFIRMATIVE DEFENSE

                                                 6                                 (Failure to Engage in Interactive Process)

                                                 7           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought

                                                 8    thereunder, Plaintiff’s claims, in whole or part, are barred to the extent that Plaintiff failed to make

                                                 9    a good faith effort to engage in the interactive process.

                                                10                             THIRTY-FIRST AFFIRMATIVE DEFENSE

                                                11                                          (Management Discretion)
MCDERMOTT WILL & EMERY LLP




                                                12           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                13    thereunder, any and all conduct of which Plaintiff complains or which was attributed to Target was
                                                14    a just and proper exercise of management discretion on the part of Target, undertaken for a fair
                                                15    and honest reason other than Plaintiff’s purported disability or any other protected characteristic.
                                                16                            THIRTY-SECOND AFFIRMATIVE DEFENSE
                                                17                                           (No Malice/Good Faith)
                                                18           Plaintiff’s claims for damages are barred in that all decisions and actions of Target with
                                                19    respect to the subject matter of Plaintiff’s Complaint were undertaken in good faith, in the absence
                                                20    of malicious intent, and constituted a lawful, proper and justified means to further its legitimate
                                                21    economic interests.
                                                22                             THIRTY-THIRD AFFIRMATIVE DEFENSE
                                                23                                               (Mixed Motive)
                                                24           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought
                                                25    thereunder, Target alleges that Plaintiff’s remedies are limited and/or liability is precluded because
                                                26    Target would have taken the same action in absence of any alleged impermissible substantial
                                                27    motivating factor(s). If it is found that Target’s actions were motivated by both legitimate and
                                                28    illegitimate reasons, the legitimate reasons alone would have induced Target to make the same


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                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
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                                                                                                 ID #:97



                                                 1    decision.

                                                 2                           THIRTY-FOURTH AFFIRMATIVE DEFENSE

                                                 3                                        (Legitimate Business Reason)

                                                 4           Plaintiff’s claims are barred because any adverse employment actions that Plaintiff

                                                 5    allegedly suffered, including termination, were supported by legitimate non-discriminatory and

                                                 6    non-retaliatory business reasons.

                                                 7                             THIRTY-FIFTH AFFIRMATIVE DEFENSE

                                                 8                          (Any Actions Would Have Been Taken In Any Event)

                                                 9           The damages Plaintiff seeks are barred in whole or in part because any employment actions

                                                10    taken by Target against Plaintiff would have been taken in any event regardless of her purported

                                                11    disability or any other protected characteristic.
MCDERMOTT WILL & EMERY LLP




                                                12                             THIRTY-SIXTH AFFIRMATIVE DEFENSE
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                13                                           (Health or Safety Risk)
                                                14           Plaintiff’s disability claims are barred to the extent that she was unable to perform the
                                                15    essential functions of her job without endangering her health or safety, or the health or safety of
                                                16    others, even with reasonable accommodation.
                                                17                           THIRTY-SEVENTH AFFIRMATIVE DEFENSE
                                                18                             (Failure to Comply with Employer’s Directions)
                                                19           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought
                                                20    thereunder, Plaintiff is not entitled to recover from Target as alleged in the Complaint for any
                                                21    damages, interest, restitution, injunction, or other relief, due to their failure to comply with all
                                                22    directions of her employer concerning the service for which she was engaged, in violation of
                                                23    California Labor Code Section 2856.
                                                24                            THIRTY-EIGHTH AFFIRMATIVE DEFENSE
                                                25                                         (Adequate Legal Remedy)
                                                26           As to Plaintiff’s Complaint, each cause of action therein, and the damages sought
                                                27    thereunder, Plaintiff’s claims for equitable relief are barred because Plaintiff has an adequate and
                                                28    complete remedy at law, and/or Plaintiff cannot make the requisite showing to obtain equitable


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                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
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                                                                                                 ID #:98



                                                 1    relief.

                                                 2                              THIRTY-NINTH AFFIRMATIVE DEFENSE

                                                 3                         (Failure to State a Claim for Relief for Punitive Damages)

                                                 4              Plaintiff is not entitled to recover any punitive, double, or exemplary damages against

                                                 5    Target, and any allegations with respect thereto should be stricken because Plaintiff has failed to

                                                 6    plead and cannot prove facts sufficient to support allegations of oppression, fraud, or malice

                                                 7    pursuant to California Civil Code Section 3294(a).

                                                 8                                FORTIETH AFFIRMATIVE DEFENSE

                                                 9                                         (Compromise and Release)

                                                10              As to Plaintiff’s Complaint, each cause of action therein, and the damages sought

                                                11    thereunder, Plaintiff’s claims are barred to the extent covered by a prior compromise or release of
MCDERMOTT WILL & EMERY LLP




                                                12    claims.
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                13                               FORTY-FIRST AFFIRMATIVE DEFENSE

                                                14                                                (No Injury)
                                                15              As to Plaintiff’s Complaint, each cause of action therein, and the damages sought
                                                16    thereunder, Plaintiff sustained no injuries, damages, or loss by reason of any act of Target.
                                                17                             FORTY-SECOND AFFIRMATIVE DEFENSE
                                                18                                      (Right to Raise Other Defenses)
                                                19              The Complaint is ambiguous and lacks sufficient facts and Target currently does not have
                                                20    sufficient knowledge or information on which to form a belief as to whether they may have
                                                21    additional, as yet unstated, defenses available. To the extent not set forth herein, Target reserves
                                                22    the right to assert additional defenses that become available or apparent during discovery and to
                                                23    amend its Answer accordingly.
                                                24                              FORTY-THIRD AFFIRMATIVE DEFENSE
                                                25                                           (No Attorneys’ Fees)
                                                26              Plaintiff knew or should have known that her claims are without any reasonable basis in
                                                27    law or equity and cannot be supported by good faith arguments for extension, modification, or
                                                28    reversal of existing law. There also is no contractual or statutory basis for Plaintiff’s prayer for


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                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                     Case 2:23-cv-06284-JFW-MAR              Document 1-2       Filed 08/02/23      Page 80 of 107 Page
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                                                 1    attorneys’ fees. As a result of Plaintiff’s filing of this lawsuit, Target has been required to obtain

                                                 2    the services of the undersigned attorneys, and has incurred and will continue to incur substantial

                                                 3    costs and attorneys’ fees in defense of this frivolous case. Target is therefore entitled to recover

                                                 4    reasonable attorneys’ fees, expenses, and costs incurred by and through this action in accordance

                                                 5    with applicable California law.

                                                 6                             FORTY-FOURTH AFFIRMATIVE DEFENSE

                                                 7                                              (Improper Venue)

                                                 8              Target hereby raises, asserts, and preserves its defense of improper venue.

                                                 9                                                   PRAYER

                                                10              WHEREFORE, Target prays for judgment against Plaintiff as follows:
                                                11              1.     That Plaintiff takes nothing by her Complaint;
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                                                12              2.     That judgment be entered in favor of Target and against Plaintiff, on all causes of
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                13    action.
                                                14              3.     That Target be awarded reasonable attorney’s fees according to proof;
                                                15              4.     That Target be awarded the costs of suit herein incurred; and
                                                16              5.     That Target be awarded such other relief as this Court deems proper.
                                                17

                                                18

                                                19     Dated: July 31, 2023                            McDERMOTT WILL & EMERY LLP
                                                20                                             By:
                                                21                                                    MARIA C. RODRIGUEZ
                                                                                                      MARJORIE C. SOTO
                                                22                                                    MADELINE HASSELL
                                                                                                      Attorneys for Defendant,
                                                23                                                    TARGET CORPORATION

                                                24

                                                25

                                                26

                                                27

                                                28


                                                                                          -11-
                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                     Case 2:23-cv-06284-JFW-MAR           Document 1-2 Filed 08/02/23            Page 81 of 107 Page
                                                                                               ID #:100



                                                 1                                         PROOF OF SERVICE

                                                 2           I, Cindy Liu, declare:

                                                 3            I am a citizen of the United States and employed in Los Angeles County, California. I
                                                      am over the age of eighteen years and not a party to the within-entitled action. My business
                                                 4    address is 2049 Century Park East, Suite 3200, Los Angeles, CA 90067-3206. On July 31, 2023,
                                                      I served a copy of the within document(s): DEFENDANT TARGET CORPORATION’S
                                                 5    ANSWER TO PLAINTIFF’S COMPLAINT
                                                 6    ☐      BY E-MAIL OR ELECTRONIC TRANSMISSION [COURTESY COPY]: I caused
                                                             the document(s) to be sent from e-mail address cliu@mwe.com to the persons at the e-
                                                 7           mail addresses listed below. I did not receive, within a reasonable time after the
                                                 8           transmission, any electronic message or other indication that the transmission was
                                                             unsuccessful.
                                                 9    ☒      BY REGULAR MAIL: By placing the document(s) listed above in a sealed envelope
                                                10           with postage thereon fully prepaid, in the United States mail at Los Angeles, California
                                                             addressed as set forth below.
                                                11
MCDERMOTT WILL & EMERY LLP




                                                      ☐      by placing the document(s) listed above in a sealed FedEx envelope and affixing a pre-
                                                12           paid air bill, and causing the envelope to be delivered to a FedEx agent for delivery.
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                13    ☐      By personally delivering the document(s) listed above to the person(s) at the address(es)
                                                             set forth below.
                                                14           John Dalton, Esq.
                                                15           LAW OFFICES OF JOHN W. DALTON
                                                             990 Highland Drive, Suite 102
                                                16           Solana Beach, CA 92075
                                                             Tel: 858-720-8422
                                                17

                                                18           I am readily familiar with the firm’s practice of collection and processing correspondence
                                                      for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                                                19    day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                                                      motion of the party served, service is presumed invalid if postal cancellation date or postage
                                                20    meter date is more than one day after date of deposit for mailing in affidavit.
                                                21            I declare that I am employed in the office of a member of the bar of this court at whose
                                                      direction the service was made.
                                                22
                                                             Executed on July 31, 2023, at Los Angeles, California.
                                                23

                                                24                                                     /s/Cindy Liu
                                                                                                       Cindy Liu
                                                25

                                                26

                                                27

                                                28


                                                                                          -12-
                                                      DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT
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                                               ID #:101


SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
Branch Name: Stanley Mosk Courthouse
Mailing Address: 111 North Hill Street
City, State and Zip Code: Los Angeles CA 90012



SHORT TITLE: CATARINA CORTEZ vs TARGET CORPORATION, et al.                   CASE NUMBER:
                                                                             23STCV13324
         NOTICE OF CONFIRMATION OF ELECTRONIC FILING

The Electronic Filing described by the below summary data was reviewed and accepted by the Superior Court of
California, County of LOS ANGELES. In order to process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: Legal Connect
Reference Number: 7985703_2023_07_31_16_01_51_720_1
Submission Number: 23LA01145290
Court Received Date: 07/31/2023
Court Received Time: 4:06 pm
Case Number: 23STCV13324
Case Title: CATARINA CORTEZ vs TARGET CORPORATION, et al.
Location: Stanley Mosk Courthouse
Case Type: Civil Unlimited
Case Category: Civil Rights/Discrimination
Jurisdictional Amount: Over $25,000
Notice Generated Date: 08/01/2023
Notice Generated Time: 8:26 am

Documents Electronically Filed/Received                 Status

Answer                                                 Accepted




Comments
Submitter's Comments:

Clerk's Comments:

Electronic Filing Service Provider Information
Service Provider: Legal Connect
Contact: Legal Connect
Phone: (800) 909-6859




                                     NOTICE OF CONFIRMATION OF FILING
W-MAR        Document     1-2 Filed 08/02/23
              Superior Court of California
                     ID  #:102
                County of Los Angeles
                             ,


   Receipt       EFM-2023-6764178.1

   Date:         8/1/23 8:26 AM
   Time:         8/1/23 8:26 AM
   CASE # 23STCV13324
   CATARINA CORTEZ vs TARGET

     Unlimited Civil- Ans.non-Plaintiff   435.00
     incl. UD-
     GC70612,70602.5,70602.6
     Court Transaction Fee                  2.25
                        Case Total:       437.25




                         Total Paid:      437.25

   23LA01145290
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                                  ID #:103




                             EXHIBIT G
    Case 2:23-cv-06284-JFW-MAR          Document 1-2 Filed 08/02/23          Page 85 of 107 Page
                                             ID #:104
                                                                              R e se r ved f or C ler k ’ s F i le S tam p
          SUPERIOR COURT OF CALIFORNIA
             COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012

PLAINTIFF(S):

Catarina Cortez
DEFENDANT(S):
Target Corporation, et al.
                                                                           CASE NUMBER:
       NOTICE OF CASE REASSIGNMENT AND ORDER FOR
           PLAINTIFF TO GIVE NOTICE (Dates Remain)                        23STCV13324

TO THE PLAINTIFF(S) AND PLAINTIFF’S ATTORNEY OF RECORD OR PLAINTIFF(S) IN
PROPRIA PERSONA:


                                       08/07/2023
You are hereby notified that effective ____________________, an order was made that the above-
                                        Curtis A. Kin
entitled action, previously assigned to _______________________________________________,
                                Joseph Lipner
is now and shall be assigned to _____________________________________________________
as an Individual Calendar (IC), direct calendaring judge for all purposes, including trial, in
department         72
                   ____      Stanley Mosk Courthouse
                          at _________________________________________________________.
(See Chapter 3, Los Angeles Court Rules) All matters on calendar in this case will remain set on
the dates previously noticed, in the department indicated above unless otherwise ordered by the
court.


Notice is further given that plaintiff in propria persona or counsel for the plaintiff is ordered to give
notice of this all-purpose case assignment by serving a copy of the notice on all parties to this
action within 10 days of service of this notice by the court, and file proof of service thereof within 12
days of this notice. Failure to timely give notice and file proof of service may lead to imposition of
sanctions pursuant to Code of Civil Procedure section 177.5 or otherwise.

                                              David W. Slayton, Executive Officer / Clerk of Court


        08/01/2023
 Dated: _______________                              S. Jusi
                                                  By ____________________________________
                                                                     Deputy Clerk

      NOTICE OF CASE REASSIGNMENT AND ORDER FOR PLAINTIFF TO GIVE NOTICE
                                (Dates Remain)
(Proposed LACIV 252)
LASC Approved 00-00                                                                             Local Rules Chapter 3
  Case 2:23-cv-06284-JFW-MAR            Document 1-2 Filed 08/02/23           Page 86 of 107 Page
                                             ID #:105
                                                                                Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Catarina Cortez
DEFENDANT/RESPONDENT:
Target Corporation, et al.

                                                                          CASE NUMBER:
                        CERTIFICATE OF MAILING                            23STCV13324

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Reassignment and Order for
Plaintiff to Give Notice upon each party or counsel named below by placing the document for collection
and mailing so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as
shown below with the postage thereon fully prepaid, in accordance with standard court practices.




    John W. Dalton                                                       Maria C Rodriguez
    Law Offices of John W. Dalton                                        McDermott Will & Emery, LLP
    990 Highland Drive                                                   2049 Century Park East Suite 3200
    Suite 102                                                            Los Angeles, CA 90067
    Solana Beach, CA 92075-2409




                                                    David W. Slayton, Executive Officer / Clerk of Court
Dated: 08/1/2023                                    By:   S. Jusi
                                                          Deputy Clerk




                                     CERTIFICATE OF MAILING
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                                  ID #:106




                             EXHIBIT H
                                              Case 2:23-cv-06284-JFW-MAR             Document 1-2 Filed 08/02/23           Page 88 of 107 Page
                                                                                          ID #:107


                                                   Kaveh S. Elihu, Esq. (SBN 268249)
                                               1   Matias N. Castro, Esq. (SBN 308498)
                                                   EMPLOYEE JUSTICE LEGAL GROUP, P.C.
                                               2   1001 Wilshire Boulevard
                                                   Los Angeles, California 90017
                                               3   Telephone: (213) 382-2222
                                                   Facsimile: (213) 382-2320
                                               4
                                                   Attorneys for Plaintiff,
                                               5   ROSELYN GARCIA
                                               6
                                               7
                                               8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA,
                                               9                    FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                                              10
                                                   ROSELYN GARCIA, an individual                     Case No.: 20STCV17447
                                              11
                                                                                                     Assigned to Hon. Stephen I. Goorvich; Dept. 39
                                              12                                Plaintiff,
                                                                                                     [PROPOSED] JUDGMENT AFTER JURY
                                              13                                                     VERDICT
                                                          vs.
                                              14                                                     Action filed: May 7, 2020
                                                                                                     Trial Date: March 10, 2022
                                              15
Electronically Received 07/07/2022 12:40 PM




                                                   ROY MEDICAL GROUP, INC., a California             Verdict in Favor of Plaintiff: March 18, 2022
                                              16   corporation; and DOES 1 through 20,
                                                   inclusive,
                                              17
                                              18                                Defendants.

                                              19
                                              20   IN ACCORDANCE WITH THE JURY VERDICT ENTERED ON MARCH 18, 2022 THE COURT
                                              21
                                                   ENTERS JUDGMENT AS FOLLOWS:
                                              22
                                                          This action came on regularly for trial on March 10, 2022 in department 39 of the Superior Court
                                              23
                                              24   of the State of California for the County of Los Angeles, Central District, the Honorable Stephen I.

                                              25   Goorvich Judge presiding. Plaintiff was represented by Rhett Francisco and Sam Moorhead and
                                              26   Defendant was represented by Frank Agello.
                                              27
                                                   A jury of twelve (12) persons was impaneled and sworn. After the evidence and arguments of counsel,
                                              28
                                                   and after the jury was instructed by the Court, the claims were submitted to the Jury with instructions to
                                                                                                       -1-
                                                                                              [PROPOSED] JUDGMENT
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     return the verdict. The jury deliberated and thereafter returned to the Court with their verdicts consisting
 1
 2   of questions submitted to the jury and the answers given thereto by the jury, which said verdict was in

 3   words and figures as follows, to wit:
 4
     “We, the Jury in the above-entitled action, find as follows:”
 5
     PLAINTIFF’S CLAIM FOR DISCRIMINATION
 6
     On Ms. Garcia’s claim for discrimination, we find in favor of (chose only one)
 7
            __Plaintiff, Roselyn Garcia
 8
     or
 9
            X Defendant, Roy Medical Group, Inc.
10
11   PLAINTIFF’S CLAIM FOR RETALIATION
12   On Ms. Garcia’s claim for retaliation, we find in favor of (choose only one)

13          __ Plaintiff, Roselyn Garcia

14   or

15          X Defendant, Roy Medical Group, Inc.
16   PLAINTIFF’S CLAIM FOR FAILURE TO PREVENT DISCRIMINATION AND
     RETALIATION
17
     On Ms. Garcia’s claim for failure to prevent discrimination and retaliation, we find in favor of (choose
18
     only one):
19
            __Plaintiff, Roselyn Garcia
20
     or
21
            X Defendant, Roy Medical Group, Inc.
22
23   PLAINTIFF’S CLAIM FOR FAILURE TO ENGAGE IN A GOOD FAITH INTERACTIVE
     PROCESS
24
     On Ms. Garcia’s claim for failure to engage in a good faith interactive process, we find in favor of
25
     (choose only one):
26          X Plaintiff, Roselyn Garcia
27   or
28          ___ Defendant, Roy Medical Group, Inc.
                                                         -2-
                                               [PROPOSED] JUDGMENT
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 1   PLAINTIFF’S CLAIM FOR FAILURE TO PROVIDE REASONABLE ACCOMMODATIONS
 2   On Ms. Garcia’s claim for failure to provide re3asonable accommodations, we find in favor of
 3   (choose only one):
 4          X Plaintiff, Roselyn Garcia.
 5   or
 6          __ Defendant, Roy Medical Group, Inc.
 7
 8   PLAINTIFF’S CLAIM FOR WRONGFUL TERMINATION IN VIOLATION OF PUBLIC
 9   POLICY
10   On Ms. Garcia’s claim for wrongful termination in violation of public policy, we find in favor of
11   (choose only one):
12          __Plaintiff, Roselyn Garcia
13   or
14          X Defendant, Roy Medical Group, Inc.
15   PLAINTIFF’S DAMAGES (FEHA & WRONGFUL TERMINATION CLAIMS)
16
17          Economic damages: $0
18
19
20          Non-Economic damages: $190,000.00
21
22          Total: $190,000.00
23
24                                         Special Question No. 1
25
26   Did Roy Medical Group, Inc. act with malice, oppression, or fraud towards Ms. Garcia?
27
28
                          _______ Yes            X No
                                                        -3-
                                              [PROPOSED] JUDGMENT
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 1            If your answer to Special Question No. 1 is “Yes”, then answer Special Question No. 2.
 2            If your answer to Special Question No. 1 is “No”, then skip to the end of this verdict form
 3   and have the Presiding Juror / Jury Foreperson date and sign this verdict form and notify the
 4   court attendant that you are ready to present your verdict in the courtroom.
 5
 6
 7
                                         Special Question No. 2
 8
 9
     Was the malicious, oppressive, or fraudulent act committed by one or more officers, directors, or
10
     managing agents who acted on behalf of Roy Medical Group, Inc?
11
12
                            _______ Yes          _______ No
13
14
              If your answer to Special Question No. 2 is “Yes”, then skip ahead to Special Question
15
     No. 5.
16
              If your answer to Special Question No. 2 is “No”, then answer Special Question No. 3.
17
18
19
                                         Special Question No. 3
20
21   Did one or more officers, directors, or managing agents of Roy Medical Group, Inc. know about

22   the act and adopt or approve the conduct after it occurred?

23
24                          _______ Yes          _______ No
25
26            If your answer to Special Question No. 3 is “Yes”, then skip ahead to Special Question
27   No. 5.
28            If your answer to Special Question No. 3 is “No”, then answer Special Question No. 4.
                                                      -4-
                                             [PROPOSED] JUDGMENT
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 1                                       Special Question No. 4
 2
 3   Was the malicious, oppressive, or fraudulent act authorized by one or more officers, directors, or
 4   managing agents of Roy Medical Group, Inc.?
 5
 6
 7
                           _______ Yes           _______ No
 8
 9
            If your answer to Special Question No. 4 is “Yes”, then answer Special Question No. 5.
10
            If your answer to Special Question No. 4 is “No”, then skip to the end of this verdict form
11
     and have the Presiding Juror / Jury Foreperson date and sign this verdict form and notify the
12
     court attendant that you are ready to present your verdict in the courtroom.
13
14
15                                       Special Question No. 5
16
17          What amount of punitive damages do you award against Roy Medical Group, Inc.?
18
19                                                     $0
20
21   PLAINTIFF’S CLAIM FOR FAILURE TO PERMIT INSPECTION OF PERSONNEL AND
22   PAYROLL RECORDS
23   On Ms. Garcia’s claim for failure to permit inspection of Personnel Records
24          X We find in favor of Ms. Garcia and against Roy Medical Group, Inc.
25          __ We find in favor of Roy Medical Group, Inc. and against Ms. Garcia
26          Total:                                      $750.00
27
28

                                                       -5-
                                             [PROPOSED] JUDGMENT
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                                           ID #:112



             IT IS HEREBY ORDERED, DECREED AND ADJUDGED that: Plaintiff, Roselyn Garcia, an
 1
 2   individual, shall have and recover from Roy Medical Group, Inc., general damages in the amount of

 3   $190,000.00 plus a penalty of $750.00 for failure to permit inspection of personnel records, for a total of
 4
     $190,750.00.
 5
             Further, Plaintiff, Roselyn Garcia, an individual, shall have and recover her costs and reasonable
 6
 7   attorney fees from Defendant, Roy Medical Group, Inc., in an amount to be determined by a

 8   Memorandum of Costs and/or Motion for Attorney Fees that Plaintiff, Roselyn Garcia, may hereinafter
 9   file.
10
11
     ________________                             __________________________________________
12   DATED                                        THE HONORABLE STEPHEN I. GOORVICH
13
14
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                                                         -6-
                                              [PROPOSED] JUDGMENT
Case 2:23-cv-06284-JFW-MAR             Document 1-2 Filed 08/02/23              Page 94 of 107 Page
                                            ID #:113



 1                                            PROOF OF SERVICE
 2                         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
             I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
 3   not a party to the within action. My business address is 1001 Wilshire Boulevard, Los Angeles,
     California 90017.
 4
 5          On July 7, 2022, I served the documents as described below

 6          [PROPOSED] JUDGMENT

 7          on the interested parties in this action as follows:

 8          roylegalgroup@gmail.com                                Attorneys for Defendant(s)
                                                                   Roy Medical Group, Inc.
 9
10
                   BY E-SERVICE: based on an agreement of the parties to accept service by e-mail or
11                 electronic transmission, I caused the document(s) listed above to be sent to the person at
12                 the e-mail address on the service list below on the dates and at the times stated thereon. I
                   did not receive, within a reasonable time after transmission, any electronic message, or
13                 other indication that the transmission was unsuccessful.
14
     Executed on July 7, 2022, at Los Angeles, California.
15
                   STATE           I declare under penalty of perjury under the laws of the State of California
16
                   that the foregoing is true and correct.
17
18
19
20
     Bered Rocha
21   Name                                                       Signature

22
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                                                          -7-
                                               [PROPOSED] JUDGMENT
                                              Case 2:23-cv-06284-JFW-MAR        Document 1-2 Filed 08/02/23      Page 95 of 107 Page
                                                                                     ID #:114


                                                 1

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                                                 7

                                                 8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                 9                      COUNTY OF LOS ANGELES - CENTRAL DISTRICT
                                                10

                                                11    THU NGUYET THI “NICKI” TRAN,                 Case No. BC699931
                                                12              Plaintiff,                         [PROPOSED] AMENDED
                                                                                                   JUDGMENT ON GENERAL
                                                13    vs.                                          VERDICT
                                                14    GOLDEN STATE FC, LLC,
                                                      AMAZON.COM, INC., AMAZON
                                                15    CORPORATE LLC, AMAZON.COM
Electronically Received 04/12/2022 09:33 AM




                                                      SERVICES, INC.,
                                                16    AMAZON.COM.KYDC LLC, and
                                                      AMAZON.COM SERVICES LLC
                                                17
                                                                Defendants.
                                                18
                                                                                                   Dept.:   34
                                                19
                                                20
                                                              This action came on regularly for trial on September 27, 2021, in Department
                                                21
                                                     34 of the above-entitled Court, the Honorable Michael P. Linfield, Judge of the
                                                22
                                                     Superior Court, presiding. Attorneys Carney R. Shegerian, Anthony Nguyen, and
                                                23
                                                     Leo Livshits of Shegerian & Associates, Inc., and Melissa Cardenas, Esq., appeared
                                                24
                                                     for plaintiff Thu Nguyet Thi “Nicki” Tran. Attorneys Karen Kimmey and Kelly M.
                                                25
                                                     Matayoshi of Farella Braun + Martel LLP appeared for defendants Golden State FC,
                                                26
                                                     LLC, Amazon.com, Inc., Amazon Corporate LLC, Amazon.com Services, Inc.,
                                                27
                                                     Amazon.com.kydc LLC, and Amazon.com Services LLC.
                                                28

                                                                                  JUDGMENT ON GENERAL VERDICT
                                                     35844\14409408.1
Case 2:23-cv-06284-JFW-MAR          Document 1-2 Filed 08/02/23     Page 96 of 107 Page
                                         ID #:115


   1            A jury of twelve persons was regularly impaneled and sworn and agreed to try
   2   the cause. Witnesses were sworn and testified. After hearing the evidence and
   3   arguments of counsel, the jury was duly instructed by the Court and the cause was
   4   submitted to the jury with directions to return a general verdict. The jury deliberated
   5   and thereafter returned to court with its general verdict on the issues submitted and
   6   the answers given thereto by the jury, which verdict was in words and figures as
   7   follows:
   8

   9
                                         GENERAL VERDICT

  10

  11          We, the jury in the above-entitled action, find as follows:
  12

  13          For each of questions Nos. 1-8, please check one box:
  14

  15     1. On plaintiff Nicki Tran’s cause of action for discrimination based on
  16          pregnancy:
  17          _____       We find in favor of plaintiff Nicki Tran, and against defendant
  18                      Amazon.
  19          _____       We find in favor of defendant Amazon, and against plaintiff, Nicki
  20                      Tran.
  21

  22     2. On plaintiff Nicki Tran’s cause of action for discrimination based on disability:
  23          _____       We find in favor of plaintiff Nicki Tran, and against defendant
  24                      Amazon.
  25          _____       We find in favor of defendant Amazon, and against plaintiff, Nicki
  26                      Tran.
  27   ///
  28   ///
                                                    2
                                      JUDGMENT ON GENERAL VERDICT
       35844\14409408.1
Case 2:23-cv-06284-JFW-MAR          Document 1-2 Filed 08/02/23     Page 97 of 107 Page
                                         ID #:116


   1     3. On plaintiff Nicki Tran’s cause of action for failure to provide reasonable
   2          accommodation:
   3          _____       We find in favor of plaintiff Nicki Tran, and against defendant
   4                      Amazon.
   5          _____       We find in favor of defendant Amazon, and against plaintiff, Nicki
   6                      Tran.
   7

   8     4. On plaintiff Nicki Tran’s cause of action for failure to engage in the interactive
   9          process:
  10          _____       We find in favor of plaintiff Nicki Tran, and against defendant
  11                      Amazon.
  12          _____       We find in favor of defendant Amazon, and against plaintiff, Nicki
  13                      Tran.
  14

  15     5. On plaintiff Nick i Tran’s cause of action for retaliation:
  16          _____       We find in favor of plaintiff Nicki Tran, and against defendant
  17                      Amazon.
  18          _____       We find in favor of defendant Amazon, and against plaintiff, Nicki
  19                      Tran.
  20

  21     6. On plaintiff Nicki Tran’s cause of action for violation of the California Family
  22          Rights Act:
  23          _____       We find in favor of plaintiff Nicki Tran, and against defendant
  24                      Amazon.
  25          _____       We find in favor of defendant Amazon, and against plaintiff, Nicki
  26                      Tran.
  27   ///
  28   ///
                                                    3
                                      JUDGMENT ON GENERAL VERDICT
       35844\14409408.1
Case 2:23-cv-06284-JFW-MAR          Document 1-2 Filed 08/02/23     Page 98 of 107 Page
                                         ID #:117


   1     7. On plaintiff Nicki Tran’s cause of action for violation of the Pregnancy
   2          Disability Leave Law:
   3          _____       We find in favor of plaintiff Nicki Tran, and against defendant
   4                      Amazon.
   5          _____       We find in favor of defendant Amazon, and against plaintiff, Nicki
   6                      Tran.
   7

   8     8. On plaintiff Nicki Tran’s cause of action for wrongful termination in violation
   9          of public policy:
  10          _____       We find in favor of plaintiff Nicki Tran, and against defendant
  11                      Amazon.
  12          _____       We find in favor of defendant Amazon, and against plaintiff, Nicki
  13                      Tran.
  14

  15          If you found in favor of plaintiff Nicki Tran on any of the above questions Nos.
  16   1, 2, 3, 4, 5, 6, 7 or 8, please answer question No. 9.
  17          If you found for defendant Amazon on all of the above questions Nos. 1, 2, 3, 4,
  18   5, 6, 7 and 8, answer no further questions. Have your Presiding Juror sign and date
  19   this form, and notify the Court Attendant.
  20

  21     9. What are Nicki Tran’s damages?
  22          Past economic damages:                  118,425.00
                                                   $_________________________________
  23          Future economic damages:             $_________________________________
                                                      38,500.00
  24          Emotional distress:                  $_________________________________
                                                      152,553.90
  25          TOTAL:                                  309,478.90
                                                   $_________________________________
  26          Please answer Question No. 10.
  27   ///
  28   ///
                                                    4
                                      JUDGMENT ON GENERAL VERDICT
       35844\14409408.1
Case 2:23-cv-06284-JFW-MAR       Document 1-2 Filed 08/02/23      Page 99 of 107 Page
                                      ID #:118


   1   10. Do you find with clear and convincing evidence that defendant Amazon acted
   2          with malice, oppression or fraud?
   3          Yes _____    No _____
   4

   5          Please have your Presiding Juror sign and date this form and return it to the
   6   Court Attendant.
   7
        Dated: October 21, 2021                   Maria A. Cervera-Hubly
   8                                              Foreperson
   9

  10          WHEREAS, on April 8, 2022, the Court awarded plaintiff Thu Nguyet Thi
  11   “Nicki” Tran $2,471,313.60 in attorneys’ fees and $163,914.13 in costs pursuant to
  12   Government Code section 12965(b);
  13          NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that
  14   plaintiff, Thu Nguyet Thi “Nicki” Tran, have and recover from defendants Golden
  15   State FC, LLC, Amazon.com, Inc., Amazon Corporate LLC, Amazon.com Services,
  16   Inc., Amazon.com.kydc LLC, and Amazon.com Services LLC the sum of
  17   $2,944,706.63 jointly and severally, with post-judgment interest thereon at the rate
  18   of ten percent per annum.
  19          IT IS SO ORDERED.
  20

  21                05/12/2022
         Dated: ____________________              ______________________________
  22                                              The Honorable Michael P. Linfield
                                                  Judge of the Superior Court
  23

  24

  25

  26

  27

  28
                                                   5
                                   JUDGMENT ON GENERAL VERDICT
       35844\14409408.1
     Case 2:23-cv-06284-JFW-MAR      Document 1-2 Filed 08/02/23       Page 100 of 107 Page
                                          ID #:119


 1     TRAN v. GOLDEN STATE FC, et al.                        LASC CASE NO.: BC 699931
 2                                    PROOF OF SERVICE
 3                 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 4          I am an employee in the County of Los Angeles, State of California. I am over the
       age of 18 and not a party to the within action; my business address is 11520 San Vicente
 5     Boulevard, Los Angeles, California 90049.
 6           On April 8, 2022, I served the foregoing document, described as
       “[PROPOSED] AMENDED JUDGMENT ON GENERAL VERDICT” on all
 7     interested parties in this action by placing true copies thereof in sealed envelopes,
       addressed as follows:
 8
       Karen Kimmey, Esq.
 9     kkimmey@fbm.com
       Kelly M. Matayoshi, Esq.
10     kmatayoshi@fbm.com
       FARELLA BRAUN + MARTEL LLP 235
11     Montgomery Street, 17th Floor
       San Francisco, California 94104
12

13
             (BY MAIL) As follows:
14
             I placed such envelope, with postage thereon prepaid, in the United States mail at
15           Los Angeles, California.
16           (BY ELECTRONIC MAIL) I sent such document via electronic mail to the
             email(s) noted above.
17
             (STATE) I declare, under penalty of perjury under the laws of the State of
18           California, that the above is true and correct.
19            Executed on April 8, 2022, at Los Angeles, California.
20

21                                                 Michelle Hemer
22

23

24

25

26

27

28
    Case 2:23-cv-06284-JFW-MAR                 Document 1-2 Filed 08/02/23                   Page 101 of 107 Page
                                                    ID #:120




Attorney claimed she was harassed about pregnancy

Type:              Verdict-Plaintiff


Amount:            $1,173,849


State:             California


Venue:             Los Angeles County

Court:             Superior Court of Los Angeles County, Los Angeles, CA


Injury Type(s):         mental/psychological - emotional distress


Case Type:            Employment - Pregnancy; Retaliation; Workplace Harassment; Gender
                       Discrimination
                      Discrimination - Fair Housing Act
                      Civil Rights - Pregnancy Discrimination
                      Intentional Torts - Intentional Infliction of Emotional Distress

Case Name:         Jessica A. Stepp v. Fidelity National Title Group Inc., Fidelity National Financial Inc.,
                   Fidelity National Law Group, Fidelity National Management Services, John Rygh, and
                   Does 1 through 100, No. BC517311
Date:              December 04, 2015


Plaintiff(s):           Jessica A. Stepp (Female, 39 Years)


Plaintiff             Victor L. George; Law Office of Victor L. George; Torrance CA for Jessica A.
Attorney(s):           Stepp
                      Wayne C. Smith; Law Office of Victor L. George; Torrance CA for Jessica A.
                       Stepp
Plaintiff Expert      Lester M. Zackler M.D.; Psychiatry; Sherman Oaks, CA called by: Victor L.
(s):                   George, Wayne C. Smith
                      Phillip H. Allman, III Ph.D.; Economics; Oakland, CA called by: Victor L. George,
                       Wayne C. Smith




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   Case 2:23-cv-06284-JFW-MAR Document 1-2 Filed 08/02/23                                Page 102 of 107 Page
Defendant(s):    John Rygh                  ID #:121
                 Fidelity National Law Group
                 Fidelity National Financial Inc.
                 Fidelity National Title Group Inc.
                 Fidelity National Management Services

Defense           Bernard R. Given, II; Loeb & Loeb LLP; Los Angeles, CA for Fidelity National
Attorney(s):       Title Group Inc., John Rygh, Fidelity National Financial Inc., Fidelity National Law
                   Group, Fidelity National Management Services
                  Erin M. Smith; Loeb & Loeb LLP; Los Angeles, CA for Fidelity National Title
                   Group Inc., John Rygh, Fidelity National Financial Inc., Fidelity National Law
                   Group, Fidelity National Management Services

Defendant         Mark D. Cohen M.S.; Economics; Walnut Creek, CA called by: for Bernard R.
Expert(s):         Given, II, Erin M. Smith
                  David Kan M.D.; Forensic Psychiatry; San Francisco, CA called by: for Bernard R.
                   Given, II, Erin M. Smith

Facts:         In May 2010, plaintiff Jessica Stepp was hired as a vice president and as senior trial
               counsel at Fidelity National Title Group Inc. Stepp, a mother of two, was five months
               pregnant when she was hired by Fidelity. She claimed that her supervisor and co-workers
               made critical remarks about her pregnancy and encouraged her to stop having children.
               She also claimed that when she returned to work after giving birth, her boss was hostile
               and uncooperative when she requested accommodations so that she could pump breast
               milk in private.

               Stepp became pregnant twice more, but lost the babies in August 2011 and in February
               2012 and had to take time off because of the losses. She claimed that despite the losses,
               she contemplated getting pregnant again.

               In August 2012, Stepp, then 39, was terminated from her position. She claimed that she
               was fired without warning, unlike her male counterparts, who were given a heads-up and
               put on probation before being let go.

               Stepp filed a claim with the California Department of Fair Employment and Housing, and
               received a right-to-sue letter. Thus, Stepp sued Fidelity National Title Group Inc.; Fidelity
               National Financial Inc.; Fidelity National Law Group; Fidelity National Management
               Services; and Fidelity's managing attorney, John Rygh. Stepp alleged that the defendants'
               actions constituted intentional infliction of emotional distress; harassment; discrimination
               based on gender, pregnancy, and a medical condition; and retaliation.

               The matter ultimately only continued against Fidelity National Title Group Inc., Fidelity
               National Financial Inc. and Fidelity National Law Group, as the others were dismissed.

               Stepp claimed that when she was hired, Rygh and her co-workers expressed surprise at
               her pregnancy and asked her whether she would be able to handle all her work and
               whether she would be "getting her tubes tied" after she delivered her child. She also
               claimed that when she returned from leave after having the baby, she asked Rygh whether
               she could be moved to a windowless office that was being used as storage so that she
               could pump breast milk in private, but that Rygh turned down the request and told her to



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   Case 2:23-cv-06284-JFW-MAR
              "figure things out" on herDocument    1-2 claimed
                                         own. She further  Filed 08/02/23     Page 103
                                                                   that Rygh refused     of 107
                                                                                     to cover      Page
                                                                                              the cost of
                                                ID  #:122
              putting a lock on her office door to prevent anyone from walking into her office while she
              was pumping and, instead, forced her to hang a do-not-disturb sign on her door,
              announcing that she was in the midst of pumping.

                Plaintiff's counsel noted after a member of the building maintenance staff entered Stepp's
                office while her shirt was off, Stepp paid to have a lock installed herself and that until it
                was put in, Stepp pushed a chair and a box against the door to prevent anyone from
                getting in.

                Stepp alleged that during the first two weeks that she was out of work for the February
                2012 loss of her child, Rygh refused to have another attorney take on her cases, even after
                she told him that a motion was due in one case at the end of the month. She claimed that
                Rygh told her that no one in the office could handle it and that she would have to figure
                out how to get it done even though she was incapacitated. Stepp claimed that after the loss
                of her child in February 2012, and while she was contemplating getting pregnant again,
                her supervisors devised a reason to fire her, ultimately deciding to blame it on her work
                performance. Stepp alleged that as a result, Rygh saddled her with untenable workloads
                that, in July 2012, resulted in her having to work six 17-plus-hour days a week. She
                further alleged that Rygh refused her requests for backup when she was overwhelmed and
                that he forced her to take over her paralegal's work after the paralegal quit.

                Plaintiff's counsel contended that no male attorney was ever asked to complete his own
                paralegal's work. Counsel also contended that four of the office's female attorneys were
                given the heaviest caseloads, in regard to the number of cases and potential losses, even
                though three of them had toddlers or school-age children. Counsel noted that one of those
                women eventually resigned, fearing she might commit malpractice as a result of being
                assigned "a clearly unreasonable amount of cases." Plaintiff's counsel further contended
                that after the woman resigned, her cases were redistributed throughout the office and her
                male replacement was given less work to do.

                Defense counsel denied Stepp's allegations and maintained that none of her allegations
                were corroborated by trial witnesses.

Injury:         Stepp described herself as a hard worker and she claimed she was never told her
                performance was substandard. However, she was ultimately fired six months after the
                second pregnancy loss. Stepp claimed that she was told that she was being fired because
                she had not provided a supervisor with a draft of a motion in a case, but that the reason
                was untrue.

                Stepp claimed that her marriage became contentious while her Fidelity employment was
                winding down and that it ended in divorce after she was terminated. She claimed that as a
                result, she suffered emotional distress, including disgrace, anxiety, and loss of enjoyment
                of life. She also has not worked in the 3.5 years since she lost her position.

                Thus, Stepp sought recovery of general, compensatory and punitive damages, as well as
                attorney fees.




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   Case 2:23-cv-06284-JFW-MAR Document 1-2 Filed 08/02/23                                    Page 104 of 107 Page
Result:       There were two mediations beforeIDthe verdict.
                                                  #:123

                   The jury found for Fidelity on Stepp's claims brought under the Fair Employment and
                   Housing Act, including pregnancy discrimination, gender discrimination, and retaliation.
                   However, it found for Stepp on her intentional infliction of emotional distress claim. The
                   jury also determined that Stepp's damages totaled $1,173,849.

                   Defense counsel claimed the jury erroneously included past and future "lost earnings,"
                   which were only recoverable in connection with Stepp's claims under FEHA, for which a
                   defense verdict was rendered. However, plaintiff's counsel claimed that in an award for
                   intentional infliction of emotional distress, the plaintiff is entitled to past and present lost
                   earnings, and past and present emotional distress damages.




Jessica A. Stepp

$191,600 Personal Injury: Past Pain And Suffering

$365,833 Personal Injury: past economic loss

$239,166 Personal Injury: future economic loss

$377,250 Personal Injury: future emotional distress damages


Trial Information:

Judge:             Mark V. Mooney, Jeffrey Krivis, Michael Young


Demand:            $750,000


Offer:             $400,000


Trial Length:      12 days


Trial              3 days
Deliberations:

Jury Vote:         9-3


Jury               6 male, 6 female
Composition:




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    Case 2:23-cv-06284-JFW-MAR Document 1-2 Filed 08/02/23 Page 105 of 107 Page
Post Trial:    Defense counsel moved for judgment       notwithstanding verdict with respect to damages and
                                                    ID #:124
               for a new trial. In the alternative, defense counsel moved to set aside the award relating to
               past and future lost earnings. Plaintiff's counsel filed a cost memo for $125,000. On
               Feb. 22, 2016, Judge Mark Mooney denied defense counsel's motions, and ordered he
               jury's verdict to stand.
Editor's         This report is based on information that was provided by plaintiff's and defense counsel.
Comment:
Writer           pidiculla




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 Case 2:23-cv-06284-JFW-MAR                    Document 1-2 Filed 08/02/23
Viveros vs. Donahoe, 13 Trials Digest 16th 9 (2012)
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                                                    ID #:125


                   13 Trials Digest 16th 9, 2012 WL 7854374 (C.D.Cal.) (Verdict and Settlement Summary)


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                               United States District Court, C.D. California, Western Division.

                                                    Viveros vs. Donahoe

TOPIC:
Synopsis: Terminated postal worker entitled to damages, reinstatement

Case Type: Labor & Employment; Discrimination; Labor & Employment; Gender; Labor & Employment; Termination/
Constructive Discharge

                                         DOCKET NUMBER: 10CV08593(MMM)

STATE: California
COUNTY: Not Applicable
                                        Verdict/Judgment Date: November 30, 2012

JUDGE: Margaret M. Morrow
ATTORNEYS:
Plaintiff: Anahit Galstyan, Weidmann & Yun, Los Angeles; Andrew Kazakes, Weidmann & Yun, Los Angeles; Mark Weidmann,
Weidmann & Yun, Los Angeles; Edward Yun, Weidmann & Yun, Los Angeles.
Defendant: Andre Birotte Jr., Office of U.S. Attorney, Los Angeles; Terrence M. Jones, Office of U.S. Attorney, Los Angeles;
Leon W. Weidman, Office of U.S. Attorney, Los Angeles.

SUMMARY:
Verdict/Judgment: Plaintiff

Verdict/Judgment Amount: $225,000


Range: $200,000-499,999
$225,000 to plaintiff for emotional distress. Following the verdict, the parties filed a stipulation regarding damages, which
included reinstatement for plaintiff. Based on the stipulation and verdict, the court awarded plaintiff $152,200 in back pay,
$12,472 in overtime payments, $9,590 in TSP contributions and $279 interest for a total award of $399,541.

Trial Type: Jury

Trial Length: 4 days.

Deliberations: Not reported.

Jury Poll: Not reported.


EXPERTS:
Plaintiff: Not reported.
Defendant: Not reported.



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 Case 2:23-cv-06284-JFW-MAR                    Document 1-2 Filed 08/02/23
Viveros vs. Donahoe, 13 Trials Digest 16th 9 (2012)
                                                                                                 Page 107 of 107 Page
                                                    ID #:126


TEXT:

CASE INFORMATION

FACTS/CONTENTIONS
  According to court records: Plaintiff Elia Viveros worked for the Sherman Oaks Post Office as a letter carrier. In late 2008,
  she traveled to Mexico when her grandfather was ill and died. While in Mexico, plaintiff was diagnosed with a high-risk
  pregnancy and confined to total bed rest. She claimed she was instructed to avoid traveling to ensure she did not lose her
  baby to miscarriage.
  Plaintiff said she informed her Station Manager, Raymond Bryant, about her condition, and Bryant immediately sought her
  termination.
  According to plaintiff, Bryant concealed his plans from plaintiff and represented to her that her job was safe as long as she
  sent medical documentation. She accused Bryant of sending critical job notices to her Los Angeles apartment, knowing she
  was in rural Mexico and unable to receive or respond to them.
  Plaintiff alleged violation of Title VII of 42 U.S.C.A. § 2000e, the Pregnancy Discrimination Act and the Family Medical
  Leave Act and claimed wrongful termination against Patrick R. Donahoe, the postmaster general of the United States Postal
  Service.


CLAIMED INJURIES
 According to court records:
 Emotional distress.


CLAIMED DAMAGES
 According to court records:
 $202,736 past lost wages; $487,771 future economic loss; $690,507 emotional distress.


SETTLEMENT DISCUSSIONS
According to court records:

Not reported.


COMMENTS
According to court records:

The complaint was filed Nov. 17, 2010.


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Central District Federal Court/Los Angeles



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